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          4                                    UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF TEXAS
                                                    BEAUMONT DIVISION



                    Peter Harris and Loni Harris,


                                           Plaintiffs,                  Case No. 1:24-cv-00313


                               v.


                    Upwintrade.com, a business                          Declaration of
                    association; David Shamlian, an                     Evan Cole
                    individual; John Does 1 – 20,


                                           Defendants.



                               I, Evan Cole, state and swear as follows.

                               I.         Introduction

                               1.         My name is Evan Cole. I am of sound mind and capable of

                   making this Declaration. I have personal knowledge of the facts stated herein.

                               2.         I am the founder of Digital Investigations, LLC. I am experi-

                   enced in blockchain investigations and am knowledgeable about the pig-

                   butchering scam epidemic and the tactics of cybercriminals like the Defend-

                   ants in this case. I hold the Chainalysis Cryptocurrency Fundamentals and

                   the Chainalysis Reactor Certifications.

                               3.         The plaintiffs in this matter, Peter and Loni Harris (the

                   “Harrises”), have retained my firm to provide blockchain analysis and expert-


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                   witness services. I am submitting this Declaration in support of the Harrises’

                   Motion for Preliminary Injunction (the “Motion”).

                               II.    Pig-Butchering Scams

                               4.     I previously submitted a Declaration in support of the Harrises’

                   Emergency Ex Parte Motion for Temporary Restraining Order and Expedited

                   Discovery, which attached materials describing the epidemic of pig-

                   butchering scams sweeping our country. Those materials continue to be

                   relevant as background for the present Motion. Below, I provide additional

                   information and materials to supplement my earlier submission.

                                      A.      Identifying Pig-Butchering Scams

                               5.     Attachment A to this Declaration is a true and correct preprint

                   of a forthcoming academic article titled Deconstructing a Form of Hybrid

                   Investment Fraud: Examining ‘Pig Butchering’ in the United States (hereafter

                   “Examining Pig Butchering”), which will be published in the Journal of

                   Economic Criminology in September 2024.1

                               6.     Examining Pig Butchering aims to situate pig-butchering scams

                   within the broader typology of cyber-enabled fraud. It does so by reviewing

                   the “tactics, tools, and methods of operation” on display in a database of more

                   than 1,300 news articles and court documents compiled by the authors. The




                               1 Marie-Helen Maras, Emily R. Ives, Deconstructing a form of hybrid

                   investment fraud: Examining ‘pig butchering’ in the United States, JOURNAL
                   OF ECONOMIC CRIMINOLOGY, Volume 5 (forthcoming Sep. 2024).

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                   result is what I believe to be the most comprehensive academic study of the

                   pig-butchering epidemic to date.

                               7.     Pig-butchering scams have distinctive characteristics. Any

                   experienced investigator can spot one immediately. Nevertheless, the

                   typology set out in Examining Pig Butchering is crucial. By compiling and

                   analyzing an enormous trove of reported cases, the authors have provided a

                   framework for objectively determining whether a pig-butchering scam is at

                   issue in a given case.

                               8.     To make such a determination here, I first reviewed the

                   declarations submitted in support of the Motion by Loni Harris, Peter Harris,

                   and Deliana Snyder. I then compared this evidence to the paradigm that

                   emerges from Examining Pig Butchering. The results are as follows. [start at

                   0249 and p.6]

                               9.     Initial Contact. The Harrises’ and the Snyders’ initial contact

                   with the Defendants was through Facebook. There, the persons operating the

                   hacked Orlando Bell and Kerrie Zimmerman accounts made posts celebrating

                   their newfound crypto-trading wealth.2 Examining Pig Butchering confirms

                   that pig-butchering victims’ first contact with perpetrators is often through

                   social-media platforms, and that perpetrators frequently “display wealth”




                               2 Declaration of Loni Harris (henceforth, “L. Harris Decl.”), Att. A, at

                   HAR0001-0012 (showing messages with ‘Orlando Bell’); Declaration of
                   Deliana Snyder (henceforth, “Snyder Decl.”), Att. A, at HAR0249-0256
                   (showing messages with ‘Kerri Zimmerman’).

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                   that is “purportedly made possible by their investments in securities or

                   commodities.”3 The tactic displayed in the Harrises’ and Snyders’ cases—i.e.,

                   hacking the Facebook accounts of real people known to the victims and using

                   trading-success posts from that account as bait—is not featured in Examining

                   Pig Butchering. But this new variation only emphasizes that the pig-

                   butcherers’ tactics are constantly evolving, with ever-more deceptive means

                   used to gain victims’ trust.

                               10.       Cultivating the Relationship. At the next stage, the Harrises

                   were referred to a cryptocurrency-trading ‘expert’ calling himself David

                   Shamlian, while the Snyders were referred to another calling himself ‘Tony

                   Hattennsty.’ The fake Orlando Bell and fake Kerrie Simmerman instructed

                   the Harrises and the Snyders to contact their respective experts by Skype,

                   which they subsequently did.4 Both began by having voice calls and

                   exchanging Skype messages with their respective victims, in which they

                   explained the process and offered to act as teachers who would reveal the




                             Examining Pig Butchering (henceforth, “EPB”), at p.9 (describing
                               3

                   initial contact methods), p. 10 (describing displays of wealth).
                           L. Harris Decl., Att. A, at HAR0008 (message from hacked Bell
                               4

                   account stating that David had “a real knack for understanding the market
                   and predicting what’s gonna happen in the future”); Snyder Decl., Att. A, at
                   HAR0252-0253 (messages from hacked Zimmerman account describing the
                   “big bucks” that Hattennsty had helped make and providing his Skype
                   information).

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                   secrets to profitable trading.5 Shamlian had his own high-quality website

                   proclaiming himself a “professional cryptocurrency trader” who would act as

                   his clients’ “trusted guide in the global crypto space.”6

                               11.    Comparing these facts with Examining Pig Butchering, we see

                   again that the Harrises’ and Snyders’ experiences match the paradigm

                   precisely. Pig-butcherers consistently begin their relationship with victims by

                   leaving behind the social-media platform where initial contact was made,

                   moving their discussions to secure messaging apps like WhatsApp, Skype, or

                   Telegram.7 And they frequently offer to act as teachers, promising to impart

                   their insider crypto-trading knowledge to their victims, going to great lengths

                   to establish their purported expertise and qualifications.8




                         5 Declaration of Peter Harris (henceforth, “P. Harris Decl.”), Att. A, at

                   HAR0017 (showing initial call between Harrises and Shamlian and
                   instructions on initial steps to begin trading); Snyder Decl., Att. A, at
                   HAR0259-0269 (showing initial discussions between Snyders and
                   Hattennsty, including offer to “break it down by explaining it to you before
                   we begin”).
                               6 P. Harris Decl., Att. B, at HAR0076.

                               7 EPB, at p.9 (“Following initial contact, most cases in our dataset

                   revealed that offenders encouraged communications to continue off social
                   media [platforms] … to other messaging platforms (e.g., WhatsApp, WeChat,
                   Line, Skype, and Telegram.”).
                               8 EPB, at p.10 (“In this stage, the offender turns conversations towards

                   investments. The offender then discusses expertise and/or prior success with
                   investments. The goal of these conversations is to introduce the target to a
                   lucrative investment opportunity, and then entice them to invest (which is
                   the next stage).”), p.11 (noting that, in the studied cases, “[a] comfort level
                   was established investing to encourage victims to invest more over time … by
                   offenders offering to teach victims how to trade.”).

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                               12.        Securing the ‘Investment.’ Both Shamlian and Hattennsty

                   presented themselves as cryptocurrency-trading experts with inside

                   knowledge about a particular online platform: Upwintrade.9 They then

                   walked their respective victims through the process of creating their own

                   accounts at legitimate cryptocurrency exchanges, purchasing Bitcoin with

                   U.S. dollars using those exchange accounts, and then transferring that

                   Bitcoin to deposit addresses provided by Upwintrade.10

                               13.        When the Harrises and the Snyders transferred Bitcoin to the

                   Upwintrade deposit addresses, their “account balances” on the Upwintrade

                   platform would grow accordingly.11 They could then watch in real-time on the

                   Upwintrade platform as Shamlian and Hattennsty made fake “trades.”12 And




                         9 P. Harris Decl., Att. A, at HAR0019 (message from Shamlian

                   instructing Harrises to “set up a software trading account with
                   Upwintrade.com”); Snyder Decl., Att. B, at HAR0260 (Hattennsty message to
                   Snyders asking for Upwintrade account username, which he purportedly
                   needs so that he can “link to software to start trades immediately”).
                            P. Harris Decl., Att. A, at HAR0020 (first of many examples of
                               10

                   Shamlian giving step-by-step instructions for how to purchase Bitcoin at
                   legitimate exchanges using U.S. dollars and then deposit that Bitcoin on
                   Upwintrade), Att. E, at HAR0088 (showing deposit address provided on
                   Upwintrade platform); Snyder Decl., Att. A, at HAR0260 (same instructions
                   from Hattennsty).
                               11 P. Harris Decl., Att. E, at HAR0085 (showing “invested amount” of

                   “$320,509.00” and “main balance” of $6,415,665.00); Snyder Decl., Att. D, at
                   HAR0304 (showing “invested amount” of $144,250.00 and “main balance” of
                   $2,814,379.00”).
                            P. Harris Decl., Att. E, at HAR0158-0244 (showing hundreds of
                               12

                   entries as “Crypto Trade History” with various trades “won” and “pending”);
                   Snyder Decl., Att. D, at HAR0305 (same).

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                   as these trades were “won,” their account balances snowballed.13 This growth

                   inspired confidence, which Shamlian and Hattensty exploited to induce them

                   to induce ever-larger deposits. When the Harrises and the Snyders began

                   attempting to withdraw their assets, their respective ‘balances’ had reached

                   $6,415,665.00 and $2,814,370.00.14

                               14.        Again, this trajectory is as expected. Pig-butcherers commonly

                   present themselves as having insider knowledge about how to make profits

                   using a particular platform, to which they direct their victims.15 They then

                   walk victims through the process of transferring assets to deposit addresses

                   controlled by that platform, continuing to act as a ‘teacher’ along the way.16

                   And once the assets are ‘deposited,’ the fake trading platform appears—from




                         13 P. Harris Decl., Att. E, at HAR0085 (showing “invested amount” of

                   “$320,509.00” and “main balance” of $6,415,665.00); Snyder Decl., Att. D, at
                   HAR0304 (showing “invested amount” of $144,250.00 and “main balance” of
                   $2,814,379.00”).
                               14 P. Harris Decl., Att. E, at HAR0085 (showing “invested amount” of

                   “$320,509.00” and “main balance” of $6,415,665.00); Snyder Decl., Att. D, at
                   HAR0304 (showing “invested amount” of $144,250.00 and “main balance” of
                   $2,814,379.00”).
                               15 EPB, p.11 (noting that typical “confidence building” tactics include

                   “feigning insider knowledge of and connections to investment platforms”).
                             EPB, p. 10 (“[O]ffenders encouraged victims to purchase
                               16

                   cryptocurrencies, such as Binance Coin (BNB), Bitcoin (BTC), USD Coin
                   (USDC), Tether (USDT), and Ethereum, and deposit them into accounts,
                   apps, and/or online platforms, controlled by the offender(s) and/or
                   associates.”), p. 12 (noting that in most cases “victims were directed to
                   legitimate cryptocurrency exchanges … to create a cryptocurrency account,
                   and then directed to investment apps and platforms controlled by the
                   offenders”).

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                   the victim’s perspective—to work as intended.17 The ‘deposits’ are reflected,

                   the ‘trades’ are executed, and the ‘profits’ rapidly increase.18

                               15.    Blocking the Exits. When the Harrises and the Snyders

                   attempted to withdraw their assets from Upwintrade, they were each met

                   with a request that a “commission” be paid before withdrawal.19 But there

                   was a catch. In each case, the ‘teacher’ told the victims that his commission

                   could only be paid with additional crypto assets—not from the millions of

                   dollars worth of crypto they were supposed to have earned in their trading.20

                   In the Harrises’ case, Upwintrade also sent a “tax form” demanding that they

                   pay another twenty percent of their profits as an advance tax payment before

                   withdrawal.21 At this stage, with no additional assets left to transfer, the

                   Harrises and the Snyders learned about pig-butchering scams through

                   independent research.22

                               16.    Through to the scams’ denouements, the Harrises’ and the

                   Snyders’ experiences continued to match the pig-butchering pattern. Pig-




                               17 EPB, p. 11 (noting that “perpetrators often falsely depict invested

                   funds increasing on fake online platforms and apps”).
                               18 Ibid.

                               19 P. Harris Decl., Att. A, at HAR0054 (discussion between Harris and

                   Shamlian regarding twenty perfect upfront commission); Snyder Decl., Att.
                   B, at HAR0297-0298 (same, between Hattennsty and Snyder).
                               20 Ibid.

                               21 P. Harris Decl., Att. F, at HAR0247-0248 (“tax form” stating that

                   “[t]he fee is 20% of your total account balance after trading activities”).
                               22 P. Harris Decl., ¶ 12; Snyder Decl., ¶ 10.


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                   butchering scams’ most consistent feature is how they end: with purported

                   customer-service issues and endless requests for enormous fees.23 Just as in

                   the Harrises’ case, the phony trading platforms often support these fee

                   requests with fabricated documentation.24 Victims’ frantic research, at this

                   stage, usually leads them to discover that they have been the victim of this

                   new type of cyber-scam.25

                               17.        Conclusion. The characteristics of pig-butchering scams are

                   sufficiently distinctive that experienced investigators can recognize them

                   immediately, as I did in this case. Based on my training and experience and

                   the framework set out in Examining Pig Butchering, my conclusion remains

                   unchanged. There is no doubt that Upwintrade is a fraudulent platform and

                   that the Harrises were the victims of a pig-butchering scam perpetrated by

                   the Defendants.

                                          B.      Pig-Butchering Perpetrators

                               18.        Examining Pig Butchering also helpfully collects information

                   about the identities, locations, and organizational structures of pig-




                               23 EPB,
                                   p.14 (noting that victims realized they were the victims of
                   scams after being asked to pay “risk deposit fees,” requests that they pay
                   “taxes,” or other “excuses … as to why payment of funds could not be made”).
                            EPB, p.11 (describing perpetrators’ practice of creating “fake
                               24

                   supporting documentation” to “establish legitimacy of false narratives”).
                               25 EPD, p.13 (describing common situation in which, after receiving

                   demands for payment of various fees and taxes, victims “conduct research”
                   and realize they have been the victim of a pig-butchering scam).

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                   butchering perpetrators.26 These perpetrators are known to “force[] trafficked

                   victims to conduct” pig-butchering scams in “Cambodia, Laos, Thailand, and

                   Malaysia,” where the pig-butchering business model originated.27

                               19.        The authors’ dataset further “revealed organized criminal

                   groups operating in concert to commit” pig-butchering scams.28 These groups

                   are divided into various units, each responsible for a distinct aspect of the

                   operation of the scams. Specifically, these units took on roles as (i) solicitors,

                   (ii) trading firms, and (iii) shell companies.29 The “solicitors” contact victims,

                   form relationships, and ultimately act as guides to' investing' in the

                   fraudulent platform.30 The “trading firms” take on the significant

                   technological challenge of ensuring that the fake platform operates with

                   sufficient verisimilitude to deceive victims.31 And the “shell companies” take

                   on the task of opening and maintaining the web of deposit addresses and

                   financial accounts used to receive, launder, and hide victims’ assets.32




                               26 Much of the information recounted here has been previously revealed

                   by law-enforcement agencies and investigative journalists, as reflected in the
                   attachments to my prior Declaration.
                            EPB, p.8 (describing geographic dispersion of pig-butchering
                               27

                   organizations).
                               28 EPB, p.8 (setting out examples showing “syndicate” structures).

                               29 Ibid.

                               30 Ibid.

                               31 Ibid.

                               32 Ibid.


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                               20.    Finally, Examining Pig Butchering also finds that pig-

                   butchering perpetrators utilize standard methods for laundering and

                   obfuscating stolen assets. The proceeds of pig-butchering scams are typically

                   “commingled and deposited into numerous accounts,” or “rapidly transferred

                   into and out of multiple intermediary wallet addresses,” or “convert[ed] from

                   one form of cryptocurrency to another.”33 These practices are designed to

                   “make it harder to trace stolen cryptocurrency,” making it “more difficult to

                   identify, investigate, and prosecute them.”34

                                      C.      The Scale & Impact of Pig-Butchering Scams

                               21.    Attachment B to this Declaration is a true and correct copy of a

                   CNN article titled Killed By a Scam: A Father Took His Life After Losing His

                   Savings to International Gangs – [and] He’s Not the Only One, published on

                   June 17, 2024.

                               22.    This article first describes the tragic story of a father who took

                   his own life after realizing that he had lost his life savings to a pig-butchering

                   scam.35 It then discusses the shocking scale of the pig-butchering epidemic,

                   noting that “[i]t’s theft at a scale so large that investigators are now calling it

                   a mass transfer of wealth from middle-class Americans to criminal gangs.”36

                   The article quotes an FBI estimate that in 2023 alone, pig-butchering scams


                               33 EPB, p.13 (describing laundering and obfuscation tactics).

                               34 Ibid.

                               35 Att. B, pp. 1-2.

                               36 Att. B, p. 3.


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                   stole nearly $4 billion from tens of thousands of American victims.37 Finally,

                   the writer quotes Erin West—a California prosecutor leading numerous

                   criminal cases against pig-butchering scammers—who captures the uniquely

                   tortuous nature of pig-butchering cases. To wit:

                               I’ve been a prosecutor for over 25 years, [and] I’ve done all kinds
                               of different types of crime. I spent nine years in sexual assault.
                               And I’ve never seen the absolute decimation of people that I’ve
                               seen as a result of pig butchering.38

                               23.    Everything in Killed by a Scam is consistent with my

                   professional experience investigating pig-butchering cases.

                               III.   Blockchain Tracing

                               24.    In my prior Declaration, I submitted blockchain-tracing

                   evidence supporting the asset freeze requested in the Harrises’ Motion for

                   Temporary Restraining Order. I have since updated that analysis to include

                   tracing of the assets the Snyders transferred to Upwintrade. This analysis

                   showed that the Defendants transferred the Snyders’ assets to many of the

                   same intermediary addresses as the Harrises’, and ultimately “off-ramped”

                   them at the same four cryptocurrency exchanges: Bybit, Revolut, Remitano,

                   and Binance (the “Receiving Exchanges”).

                               25.    To maintain clarity while adding the additional assets to my

                   tracing, I divided my analysis between four separate Chainalysis Reactor

                   graphs. Each graph shows the asset flow to one of the four Receiving


                               37 Att. B, p.3.

                               38 Att. B, p.3.


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                   Exchanges. Attachment C to this Declaration is a true and correct

                   compilation of these graphs.

                               26.    Each graph shows the Harrises’ and Snyders’ initial transfers of

                   Bitcoin to addresses controlled by the Defendants at its leftmost edge. The

                   circles labeled “UWT Receiving Address” are the addresses to which the

                   Defendants instructed the Harrises and the Snyders to transfer their assets.

                               27.    Continuing to the right, each circle represents a distinct block-

                   chain address. The lines between the circles show the flow of funds from one

                   address to another. At the graphs’ rightmost edges, there are circles labeled

                   “Remitano,” “Revolut,” “Bybit,” and “Binance.” These are the exchange-

                   associated-address clusters to which the Defendants ultimately transferred

                   the Harrises’ and the Snyders’ assets.

                               28.    To ensure that only assets traceable to the Harrises and the

                   Snyders were captured in my analysis, I filtered the transactions directed to

                   the Receiving Exchanges by date, capturing only those transactions that

                   occurred after the Harrises’ and the Snyders’ assets arrived at the relevant

                   penultimate address. I then exported a ledger of those transactions. I

                   attached a ledger showing the exchange-associated deposit addresses to

                   which those transactions were directed to my earlier Declaration. I have

                   attached that ledger to this Declaration once more, as Attachment D.

                               29.    Based on the evidence described above and on my training and

                   experience, I have concluded that the accounts associated with the



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                   transactions detailed in the transaction ledger attached as Attachment D are

                   likely controlled by the Defendants and either hold or have held the Harrises’

                   stolen assets and other proceeds of criminal activities. These are the same

                   accounts that the relevant exchanges have frozen since the Court issued the

                   Temporary Restraining Order.

                               30.    It is very easy to move cryptocurrencies on the blockchain.

                   Crypto assets can be moved in seconds from address to address or exchange

                   to exchange. And, as confirmed in Explaining Pig Butchering, this is precisely

                   what the pig-butcherers do to cover their tracks and place the assets they

                   have stolen beyond reach.39 Based on my experience, if the Target Accounts

                   do not continue to be frozen, it is likely that the Defendants will move them

                   to a non-compliant exchange or a self-custody address, which would prevent

                   the Harrises from recovering the assets stolen from them, thereby causing

                   significant and irreparable harm.

                                               [SIGNATURE PAGE FOLLOWS]




                               39 Att. A, p.13 (describing typical crypto-laundering tactics).


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                                                        VERIFICATION

                               I, Evan Cole, hereby verify and declare under penalty of perjury

                   that the foregoing is true and correct.




                                                                       __________________________
                                                                       Evan Cole


                                                                       Dated:
                                                                                9/2/2024




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     Attachment A
                                                                     Journal of Economic Criminology 5 (2024) 100066


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                                       journal homepage: www.journals.elsevier.com/journal-of-economic-criminology




     Deconstructing a form of hybrid investment fraud: Examining
     ‘pig butchering’ in the United States☆                                                                                                                                 ]]    ]]
                                                                                                                                                                            ]]]]]]

     Marie-Helen Marasa, ,1, Emily R. Ivesb,2
                                       ⁎

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     A R T I C L E      I N F O                                  A B S T R A C T


     Keywords:                                                   Cyber-enabled fraud has transformed, becoming more complex and making it harder for targets and law en-
     Pig butchering                                              forcement to detect its occurrence. This study aims to recontextualize a major manifestation of this transfor-
     Hybrid investment fraud                                     mation, a crime called hybrid investment fraud, colloquially known as pig butchering. Hybrid investment fraud
     Cryptocurrency                                              describes a cyber-enabled fraud whereby criminals gain the trust of victims by forming connections and re-
     Cyber-enabled crime
                                                                 lationships, and then exploit this trust by using a series of confidence building and coercive measures designed to
     Cyber-enabled fraud
                                                                 encourage victims to continuously invest in securities or commodities until they become unable or unwilling to
                                                                 continue to make payments or the oﬀenders become unreachable. This study further aims to address the existing
                                                                 knowledge gap by focusing on understudied elements of this fraud, such victim and oﬀender characteristics and
                                                                 the ways hybrid investment fraud is perpetrated. To achieve this, we conducted an in-depth analysis of more
                                                                 than 1,300 news articles and court documents between January 1, 2018, and November 1, 2023, to identify 59
                                                                 cases of hybrid investment fraud targeting victims in the United States. This article both situates hybrid in-
                                                                 vestment fraud within the broader fraud literature and conducts a comprehensive of analysis of hybrid invest-
                                                                 ment fraud cases to identify the types of hybrid investment fraud committed, their impact, victim and oﬀender
                                                                 demographics, and oﬀenders’ tactics, tools, and methods of operation. The findings from this study can inform
                                                                 criminal justice practices and future research of this fraud.




     1. Introduction
                                                                                                           resemble[s] the practice of fattening a hog before slaughter. The
                                                                                                           victims in this situation are referred to as ‘pigs’ by the …[oﬀenders]
         Online deceptive practices are perpetrated for various reasons. As
                                                                                                           who leverage fictitious identities, the guise of potential relation-
     Levine et al. (2010) identified in their study on deception, “people lie
                                                                                                           ships, and elaborate storylines to ‘fatten up’ the victim into believing
     for a reason” (p. 272). While lying is not illegal, lies could strategically
                                                                                                           they are in trusted partnerships. The …[oﬀenders] then refer to
     be used to facilitate the commission of a crime. The deceptive tactics
                                                                                                           ‘butchering’ or ‘slaughtering’ the victim after victim assets are
     used online are strategically designed with particular ends in mind,
                                                                                                           stolen, causing the victims financial and emotional harm (FinCEN,
     often, but not exclusively, financial in nature.
                                                                                                           2022, p. 1).
         Countries all over the world have experienced cyber-enabled fraud,
     which involves the use of information and communication technology                                  While the term itself is not new in the country in which it originated
     (ICT) to engage in illegal acts that result in a loss of property. A rela-                       – China (the term in Chinese is Shā Zhū Pán), it has recently become
     tively new term that has been used to describe a specific form of cyber-                         used with more frequency in U.S. news reports, court documents, and
     enabled fraud in the United States is ‘pig butchering.’ According to the                         government publications. There is currently a dearth in academic lit-
     Financial Crimes Enforcement Network (hereafter FinCEN), this fraud                              erature studying this form of fraud, especially in the United States. This



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     by-nc-nd/4.0/).
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     research seeks to fill this gap by engaging in an exploratory study of pig        the confidentiality, integrity and availability of computer data or sys-
     butchering incidents in the United States. Specifically, this article first       tems” (i.e., cyber-dependent crime); “computer-related acts for per-
     situates the cyber-enabled fraud of pig butchering in the broader aca-            sonal or financial gain or harm” (i.e., cybercrime committed “for per-
     demic literature on fraud. It then conducts an in-depth analysis of court         sonal or financial gain or harm” (UNODC, 2013, p. 16); and “computer-
     documents and new articles to identify the elements of this fraud, im-            content related acts” (i.e., cybercrime that “involve[s] illegal content”;
     pact of the fraud, victim and oﬀender characteristics, and tactics, tools,        UNODC, 2019) (see also UNODC, 2013). The latter two categories of
     and methods of operation of oﬀenders. The motivating research ques-               cybercrime are considered subcategories of cyber-enabled crime.
     tions for this analysis are: Who are the oﬀenders and targets in pig                  By contrast, Wall (2007) proposed three categories of cybercrime:
     butchering? Is pig butchering committed by lone actors, dyads, or by              computer integrity crime (which encompasses cyber-dependent crime,
     organized criminal groups? What are oﬀenders’ tactics, tools, areas of            such as hacking and distributed denial of service attacks); computer
     operation, and modus operandi? The findings can be used to inform                 associated crime (covering cyber-enabled crime, such as cyber theft);
     criminal justice practices and future research.                                   and computer content crime (covering cyber-enabled crime, such as child
                                                                                       sexual abuse material). The latter two categories are similar to the
     2. Fraud literature                                                               subcategories of cyber-enabled crime that UNODC used in 2013,
                                                                                       “computer-related acts for personal or financial gain or harm” and
         Fraud is a crime that involves the use of tactics designed to mis-            “computer-content related acts,” respectively (UNODC, 2013; see also
     represent facts with the intention of persuading targets to provide of-           UNODC, 2019). In his later work, Wall (2015) identified cybercrimes as
     fenders with something that is considered of value to the oﬀenders.               occurring over a spectrum, with cyber-dependent crimes on one end of
     Fraud that involves the use of ICT to enhance and/or facilitate a fraud is        the spectrum and cyber-assisted crimes (i.e., crimes whereby ICT plays
     known as cyber-enabled fraud. Oﬀenders who engage in cyber-enabled                an incidental or ancillary role in the crime) on the other end of the
     fraud adopt various online personas, identities, and backstories to               spectrum. Between these two ends of the continuum are a range of
     target individuals across demographics (Button and Cross, 2017).                  cyber-enabled crimes (e.g., various forms of cyber-enabled fraud). In
     Frauds, including cyber-enabled frauds (i.e., frauds facilitated and en-          this work, he rightly pointed out that these categories merely described
     hanced by ICT) have evolved over the years, particularly perpetrators’            the “level of mediation of technology” and further diﬀerentiation was
     tactics, targets, and methods of operation.                                       needed to identify the method of operation (modus operandi or M.O.) of
                                                                                       oﬀenders (Wall, 2015). For this reason, he identified the need to dis-
     2.1. Cyber-enabled fraud                                                          tinguish between crimes against the machine (i.e., cyber-dependent
                                                                                       crimes), crimes using the machine (i.e., cyber-enabled crimes consisting
         Cybercrime is frequently defined by taxonomies aimed at identi-               of “computer-related acts for personal or financial gain or harm”), and
     fying and distinguishing features of crimes targeting and/or committed            crimes in the machine (i.e., cyber-enabled crimes that are “computer-
     using ICT. There is no universal definition of cybercrime and no uni-             content related acts”). Wall (2015) further noted that beyond the con-
     versally accepted taxonomy. Various definitions and typologies have               sideration of the M.O. of oﬀenders, the victim group (i.e., nation state,
     been proposed (for a detailed review and critique of these typologies,            business, or individual) targeted by the cybercrime needs to be con-
     see Sarkar and Shukla, 2023). Due to the breadth of crimes considered             sidered as well.
     as cybercrime, Gordon and Ford (2006) proposed a continuum of cy-                     Echoing Wall’s (2015) sentiment for the need to create a more ro-
     bercrime, whereby on one end, crimes only have peripheral technolo-               bust typology that moves beyond the role of ICT in crime, the devel-
     gical aspects, and on the other end, crimes are entirely or “almost en-           opment of cybercrime classifications based on oﬀender motivation and
     tirely technological in nature” (p. 3). Gordon and Ford (2006) divided            intent have been proposed by various scholars who criticized Gordon
     cybercrime into two types - Type I and Type II. Type I includes cy-               and Ford’s (2006) and McGuire and Dowling’s (2013) cybercrime ca-
     bercrimes such as “phishing attempts, theft or manipulation of data or            tegories as employing “arbitrary attributes” (Lazarus et al., 2022, p.
     services via hacking or viruses, identity theft, and bank or e-commerce           384) and “obscur[ing] the meaning of each cybercrime they represent”
     fraud based upon stolen credentials,” among others (Gordon and Ford,              (Lazarus, 2019, p. 18, citing Ibrahim, 2016). To better understand the
     2006, p. 2). Type II includes cybercrimes like “cyberstalking and har-            underpinnings and context of specific cybercrimes, which Lazarus
     assment, child predation, extortion, blackmail, stock market manip-               (2019) argues serve as “a resource in understanding connections be-
     ulation, complex corporate espionage, and planning or carrying out                tween gender and” cybercrime (p.19, citing Citron, 2014; Jane,
     terrorist activities online” (Gordon and Ford, 2006, pp. 2–3).                    2016; Lazarus and Okolorie, 2019), the Tripartite Cybercrime Frame-
         McGuire and Dowling (2013) view cybercrime as an “umbrella                    work (TCF) was created by Ibrahim (2016). This framework takes into
     term” that includes cybercrimes that fall under two overarching cate-             consideration oﬀender motivation that categorizes cybercrime into
     gories: cyber-dependent crime and cyber-enabled crime (p. 5). Cyber-              (Lazarus et al., 2022, pp. 385–386):
     dependent crime includes crimes that target “the confidentiality, in-
     tegrity, and availability of systems, networks, and data that would not            • socioeconomic cybercrime (i.e., “the computer or/and Internet-medi-
     be possible without the use of technology” (Maras, 2024, p. 9). Cyber-               ated acquisition of financial benefits by false pretense, impersona-
     enabled crime is a term used to describe crime that is typically perpe-              tion, manipulation, counterfeiting, forgery, or any other fraudulent
     trated in the physical world but is enhanced by “technological in-                   representation of facts such as online fraud”);
     tegration” and facilitated by technology (Sarkar and Shukla, 2023).                • psychological cybercrime (i.e., “digital crimes that are primarily psy-
     McGuire and Dowling’s (2013) categorization of cybercrime, which is                  chologically driven to cause shock, distress or harm to a person,
     based on the role of technology in crime, is most widely used. Europol               where monetary gain is not the primary objective,” such as cyber-
     (2018), Interpol (see Cross et al., 2021), and other national, regional,             stalking, cyberharassment, and cyberbullying); and
     and international agencies and organizations commonly use these terms              • geopolitical cybercrime (i.e., “cybercrimes that are fundamentally
     to broadly describe the acts of cybercrime based on whether the                      political in nature and involve agents of the state…and/or their
     criminal acts would not have been possible without the advent of ICT                 representatives engaged in acts;” for example, cyberespionage).
     (cyber-dependent crime) and whether the criminal acts represent tradi-
     tional crimes that are enhanced and facilitated by ICT (cyber-enabled                Ibrahim (2016) acknowledged that specific types of cybercrime
     crime). The United Nations Oﬃce on Drugs and Crime (UNODC) also                   could fit into two or three of the above-mentioned categories. Other
     uses these cybercrime categories in documents (e.g., UNODC, 2022)                 scholars also acknowledge that the “apparent boundaries between the
     and has used alternative categories of cybercrime, such as “acts against          TCF categories are somewhat blurred” and thus the framework can be

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     viewed “as a loose grouping of cybercrime types” (Lazarus et al., 2022,           Investment frauds are defined as “[d]eceptive practice[s] that induce…
     p. 393). For example, image-based sexual abuse perpetrated using ar-              investors to make purchases based on false information. These …
     tificial intelligence (AI) manipulated media (e.g., deepfakes) can be             [frauds] usually oﬀer the victims large returns with minimal risk” (IC3,
     perpetrated for a myriad of reasons, including personal, social, eco-             2021, p. 31). These investments involve a range of commodities and
     nomic, and political reasons. The same holds true for fraud. The mo-              securities. Several terms have been used to describe the convergence
     tivations for fraud vary by fraud type and oﬀender. Even romance                  between romance fraud and cryptocurrency investment fraud, in-
     frauds, which have been predominantly associated with economic                    cluding pig butchering, cryptorom, and romance baiting.
     motivations in the literature, could be primarily psychologically moti-
     vated (e.g., catfishing where oﬀenders primarily seek to form emotional           2.3. Pig butchering
     bonds with others under false pretenses; not driven by monetary rea-
     sons) or geopolitically motivated (e.g., targeting politicians to impact              The range of frauds that are considered pig butchering vary by de-
     elections; Michaelson, 2023). Like the aforementioned examples, hy-               finition and origination. China, where the term pig butchering origi-
     brid frauds, which combine one or more types of frauds, do not ne-                nated, considers it (Shā Zhū Pán) as
     cessarily fit neatly into one of these categories, unless the oﬀenders are
                                                                                          a form of online fraud, in which scammers gain the trust of victims
     motivated for the same reasons (i.e., socio-economic, psychological or
                                                                                          through making friends and dating online. Through gaining victims’
     geopolitical).
                                                                                          trust, scammers then wait for the opportunity to pull victims into
         Fraud, like cybercrime, is an umbrella term that encompasses nu-
                                                                                          scams such as gambling or financial management to defraud their
     merous forms of illicit activities committed for a myriad of reasons
                                                                                          money. The biggest feature of Shā Zhū Pán is to cast a long-term plan
     against various victim groups. For this reason, to better understand pig
                                                                                          for a major return. This process is like fattening pigs and then
     butchering, we situate this cyber-enabled fraud in existing fraud lit-
                                                                                          slaughtering them (China News, 2019, cited in Wang and Zhou,
     erature.
                                                                                          2023, p. 915).
     2.2. Fraud taxonomy                                                                   This definition was broader than the types of fraud identified in the
                                                                                       2021 Internet Crime Complaint Center (IC3) Annual Report as pig
         The fraud taxonomy that is used to identify and classify fraud was            butchering. This report identified the incidents where victims reported
     created in 2015. This typology, developed by the Financial Fraud                  being subjected to cryptocurrency fraud and ‘confidence/romance
     Research Center at the Stanford Center for Longevity and the Financial            scams’ as pig butchering (IC3, 2021).
     Industry Regulatory Authority (FINRA) Investor Education Foundation,                  Other definitions also view pig butchering as involving the convergence
     classified fraud based on three elements (Beals et al., 2015). First, fraud       of romance fraud and investment fraud, such as cryptorom and romance
     is classified based on the target of the fraud: individual or organization.       baiting. The term cryptorom “is an amalgamation of crypto- from ‘crypto-
     The fraud taxonomy only focuses on frauds committed against in-                   currency’ and -rom from ‘romance scam’ (Ducklin, 2021; see also
     dividuals. The second element of the taxonomy is expected benefit/                Chandriaiah and Wu, 2021)” (Cross, 2023, p. 5). In Australia, the term
     outcome (i.e., the fraud category). Particularly, fraud committed                 “romance baiting” is used to describe frauds that involve the convergence of
     against individuals is subdivided into several general categories of              romance fraud and investment fraud (Cross, 2023; Australian Competition
     fraud: consumer investment fraud; consumer products and services                  and Consumer Commission, 2023). The Australian Competition and
     fraud; employment fraud; prize and grant fraud; phantom debt collec-              Consumer Commission’s (2023) definition of romance baiting describes it as
     tion fraud; charity fraud; and relationship and trust fraud (Beals et al.,        originating from contact via online dating apps. According to their defini-
     2015). These general categories of fraud are further subdivided by the            tion, the oﬀender “initially contacts a victim via a dating app, then quickly
     specific type of fraudulent item/transaction/relationship (i.e., the type         moves the conversation to an encrypted chat site. After a few weeks of
     of fraud). According to Beals et al. (2015), the seven general categories         developing a relationship, the scammer will begin asking about the victim’s
     of fraud are considered “comprehensive and mutually exclusive, such               finances and encourage them to participate in an investment opportunity”
     that all possible examples of individual financial fraud committed                (p. 32). However, hybrid romance fraud and investment frauds can origi-
     against persons … should fall into one and only one of the …seven                 nate outside of online dating apps. In fact, oﬀenders look for and/or contact
     categories” (p. 11).                                                              targets on social media platforms (Facebook/Meta, Instagram), professional
         However, hybrid frauds do not fit neatly into one of the existing             networking sites (e.g., LinkedIn), dating sites (e.g., Hinge, Tinder, and
     categories included in the fraud typology. One such hybrid fraud in-              OurTime), and communication platforms (e.g., WhatsApp, Telegram, and
     volves the convergence of romance fraud and investment fraud.                     WeChat) (Access Wire, 2022; GASO, 2021b; FinCEN, 2023), as well as send
     Romance fraud is a form of fraud where oﬀenders foster online re-                 unsolicited calls and/or text messages (SMS) to targets (see Image 1).
     lationships with victims “for the purpose of deceiving unsuspecting                   Targets may also be invited or added to groups and/or sent group
     victims to extort money from them” (Coluccia et al., 2020, p. 25 cited in         messages on social media and communication platforms (GASO, 2021c)
     Cross, 2023, p. 2). Romance fraud, a subcategory of relationship and              (see Image 2 for an example of a group chat invite). GASO (2021c)
     trust fraud that exploits a personal relationship with the target, has the
     expected outcome of creating a fake relationship with the target and
     exploiting this relationship (Beals et al., 2015). Oﬀenders perpetrating
     romance fraud create fake online personas or profiles (complete with
     fake image and fraudulent personal narratives) and identify targets to
     engage in a tactic known as ‘catfishing,’ whereby oﬀenders prey on
     targets’ desire for emotional connections and companionship (Whitty
     and Buchanan, 2016; Buchanan and Whitty, 2013), and lure them into
     fake relationships (Maras, 2017). The goal is often – but not always – to
     obtain something of value from targets (value, however, is determined
     by the oﬀenders on an individual basis). In the United States, the for-
     ging of online romantic relationships is increasingly common
     (Wiederhold, 2020), which exposes individuals to various forms of ro-
     mance fraud. Exposure to investment fraud is also quite common in the
     U.S. (Fletcher and Consumer Protection Data Spotlight, 2023).                                 Image 1. Unsolicited text messages. Source: Authors.

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                                                                                        Table 2
                                                                                        Financial Losses for Confidence Fraud/Romance Fraud and Investment Fraud
                                                                                        Reported to IC3 (2020–2022).

                                                                                                                  2022              2021                2020

                                                                                         Confidence/Romance       $735,882,192      $956,039,739        $600,249,821
                       Image 2. Group chat invite. Source: Authors.
                                                                                         Investment               $3,311,742,206    $1,455,943,193      $336,469,000

                                                                                        Source: IC3 (2022).
     explained how frauds via group chat worked, where a fraudulent ‘in-
     vestment lecturer,’ who claimed to be teaching those in the group chat
     how to invest eﬀectively, engaged with victims in group chats. This                and maximum financial loss of the 40 victims identified from their
     ‘instructor’ used hybrid investment fraud tactics, with the added false            online testimonials at an estimated maximum of $410,000 USD and an
     sense of security of being in a group setting, to encourage investments            approximate minimum loss of $714 USD, and the four victims identified
     under the guise of providing professional advice (GASO, 2021c).                    from police reports at a minimum of an estimated $1500 USD and a
     Usually, the purpose of these groups is to place targets in an environ-            maximum of approximately $15,000 USD. GASO’s (2022) survey re-
     ment that promotes oﬀenders’ cryptocurrency investments. The oﬀen-                 vealed an average loss of $155,117 USD experienced by victims inter-
     ders may even have multiple numbers, run multiple accounts, and/or                 nationally (this amount excludes 38 cases where victims reported a
     have accomplices who answer targets’ questions and falsely claim to                fraud loss under $2,500 USD) and average fraud loss experienced by
     have positive experiences with the promoted cryptocurrency invest-                 surveyed victims from the United States was $210,760 USD. GASO’s
     ment. These group chats are designed to be environments that make                  (2022) survey results further revealed that over 75% of victims in their
     targets feel more at ease since they are led to believe that ‘others’ are          sample reported losing “more than half their net worth,” while one
     also investing.                                                                    third accumulated debt because of the fraud.
         While the terms ‘cryptorom’ and ‘romance baiting’ emphasize the
     romance elements of the fraud, the original conception of pig butch-
     ering (‘Shā Zhū Pán’) does not necessarily require that the relationships          2.3.2. Victims and oﬀenders
     developed are romantic. The Australian Competition and Consumer                        There is limited work that identifies oﬀender and victim data and
     Commission’s (2023) uses the term ‘relationship baiting scam’ to refer             the average length of hybrid frauds. One study was conducted on
     to investment fraud perpetrated by new online friends. The Global Anti             Chinese victims who experienced Shā Zhū Pán. Data for this study was
     Scam Organization (GASO), which was developed in 2021 in direct                    gathered from 40 online testimonials from Chinese individuals who
     response to pig butchering outside of China, also highlighted that not             experienced Shā Zhū Pán and posted about it on a forum, Zhihu. Their
     all pig butchering instances describe frauds that began with a romantic            sample consisted of 36 women and 4 men. The victims’ relationship
     relationship between a victim and oﬀender (GASO, 2021b).                           status included single (21), married (7), and divorced (3) (Wang and
                                                                                        Zhou, 2023, p. 924).3 The victims’ online posts revealed that the
                                                                                        shortest duration of the relationship between a victim and oﬀender was
     2.3.1. Impact of fraud                                                             2 days, and the maximum duration was 8 months (Wang and Zhou,
         In the United States, cyber-enabled crime, including various frauds,           2023, p. 924). The study also included four (4) police reported incidents
     are reported to the IC3. In 2021, IC3 received 24,299 ‘confidence fraud/           of pig butchering. These cases involved three (3) women, one (1) man
     romance scams’ reports with an estimated $956 million in losses (IC3,              and a minimum and maximum duration of the relationship (min. 5
     2021, p. 12). The following year, IC3 (2022) received 19,021 reports of            days; max. 29 days) (Wang and Zhou, 2023, p. 924). The age of the
     this form of cyber-enabled fraud (Table 1). While there were fewer                 victims was not included in the analysis (as it was missing from the
     confidence/romance scams reported in 2022 than in 2021, the number                 online testimonials).
     of investment frauds increased that year (Table 1). In 2022, IC3 re-                   The age group, gender, and relationship status of the targets of pig
     ceived 30,529 reports of investment fraud, having increased from                   butchering have been identified in limited academic, governmental,
     20,561 in 2021, and 8,788 reports in 2020 (see Table 1). The financial             and/or non-governmental works.4 In Australia, individuals under the
     losses reported for investment fraud have exponentially expanded from              age of 35 experienced “almost half of all reported losses to romance
     more than $336 million in 2020 to more than $3.3 billion in 2022 (see              baiting” in 2020 (Scamwatch, 2021), which was comparable to findings
     Table 2). In 2021, IC3 reported that over 4,325 of the reports they re-            in China, where victims in their “twenties and thirties” were the pri-
     ceived for confidence/romance frauds also included investment and                  mary targets of the fraud (Zuo, 2021, cited in Cross, 2023, p. 6). GASO’s
     cryptocurrency fraud (IC3, 2021, p. 12).                                           (2022) survey of 550 pig butchering victims from around the world
         IC3 does not record pig butchering under the label ‘pig butchering’            revealed a relatively higher concentration of targets between the ages
     in its reports and does not record hybrid romance fraud and investment             of 25 and 40. GASO’s (2022) survey sample included men and women,
     fraud as a romance fraud and an investment fraud. Hybrid fraud, rather,            though women predominantly made up the sample (at 65%). The re-
     is recorded based on the ends sought – that is, the ultimate goal of the           lationship status of the victims primarily targeted by pig butchering
     hybrid fraud. Because the ends sought are investments, IC3 reports                 schemes were single (66%), followed by 21% who were married and
     them as an investment fraud.                                                       12% who were divorced/separated.5
         Specific financial losses for victims of pig butchering were provided              The term ‘vulnerable’ has been used to describe the populations
     in a couple of studies. Wang and Zhou (2023) identified the minimum                often targeted by perpetrators engaging in pig butchering. We use the
                                                                                        term not only to include vulnerable age groups, such as the elderly, but
     Table 1                                                                            also a wider range of individuals, including those who are emotionally
     Number of Confidence Fraud/Romance Fraud and Investment Fraud Reports
     Received by IC3 (2020–2022).
                                                                                         3
                                                                                           Some victims in the study reported their relationship status as uncertain
                                        2022             2021              2020         (Wang and Zhou, 2023, p. 924).
                                                                                         4
                                                                                           IC3 data is not included here as IC3 does not distinguish between pig
       Confidence/Romance               19,021           24,299            23,751
       Investment                       30,529           20,561            8,788
                                                                                        butchering and traditional investment fraud in victim and oﬀender demo-
                                                                                        graphics.
                                                                                         5
     Source: IC3 (2022).                                                                   GASO did not explain the missing 1% in the sample.

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     vulnerable (i.e., recently divorced or having marital/familial diﬃcul-             • In the final phase, the pig harvesting phase, perpetrators actively
     ties), medically vulnerable, and those who are technologically vulner-               encourage victims to invest, often allowing them to invest on the
     able (e.g., those who are not well versed in cryptocurrency). This term              oﬀender's behalf initially or providing a small allowance to begin
     also includes those who are socially or geographically isolated and                  investing, increasing their confidence and comfort with the process
     cannot facilitate interpersonal interaction through means other than                 and technology. Wang and Zhou (2023) note that rewards are also
     social media. As “Sean Gallagher, a senior threat researcher at the se-              used to positively reinforce a target's behavior - particularly, their
     curity firm Sophos who has been tracking pig butchering as it has                    continued investment of funds.
     emerged over the past three years…[stated:] ‘They go after people who
     are vulnerable. Some of the victims are people who have had long-term                 Throughout the three stages, Wang and Zhou (2023) also found
     health problems, who are older, people who feel isolated’” (Newman,               evidence of emotional manipulation by way of alteration in relational
     2023). Moreover, it is important to note that “the same types of stories          attitude or use of contrasting “representational redescription” techni-
     and profiles used by romance fraud oﬀenders,” which can be used in                ques (i.e., changing tone of the conversation depending on the stage of
     hybrid investment fraud, continue to be successful, indicating an in-             the fraud) before and after investments are made.
     ability to identify these schemes and an inability for targets to identify            Cross (2023), who focused her research on the convergence of ro-
     themselves as victims (Drew and Webster, 2024).                                   mance fraud and investment fraud (i.e., romance baiting), applied
         Nevertheless, victims of pig butchering may not be the only ones              Whitty’s (2013) “persuasive techniques model” that “outlines seven
     who are vulnerable. Specifically, government announcements, alerts,               stages of romance fraud” and identified which stages are consistent
     and press releases have stated that pig butchering is “largely perpe-             with romance baiting (see , pp. 3 and 5). The seven stages of romance
     trated by criminal organizations based in Southeast Asia who use vic-             fraud identified by Whitty (2013) and covered by Cross (2023) are as
     tims of labor traﬃcking to conduct outreach to millions of unsuspecting           follows:
     individuals around the world” (FinCEN, 2023, pp. 1–2; see also FBI and
     IC3, 2023). Further, a report by the United Nations Human Rights                  1. Motivated to find the ideal partner. Perpetrators find a victim that is
     Oﬃce of the High Commissioner (2023) revealed that human traf-                       looking for a romantic engagement.
     ficking victims are held in facilities that run online fraud operations in        2. Presented with the ideal profile. Perpetrators present the victim with a
     Southeast Asia and forced to engage in online fraud. These documents                 fake and desirable profile.
     suggest that the perpetrators of pig butchering may also be victims of a          3. Grooming process. Perpetrators use rapport building techniques to
     crime and part of a vulnerable population.                                           establish trust and confidence, ultimately grooming the victim.
                                                                                       4. The sting. Perpetrators make a financial request.
     2.3.3. Stages of pig butchering                                                   5. Continuation of the scam. Perpetrators continue the fraud and in-
         Pig butchering transpires in stages. According to Wang and                       crease financial requests for various reasons.
     Zhou (2023), pig butchering occurs in three stages: pig hunting, nur-             6. Sexual abuse. Victims are sexual abused. According to Cross et al.
     turing/grooming, and pig harvesting (pp. 925–934).                                   (2022), this stage does not always occur.
                                                                                       7. Re-victimization. Targets may experience “recovery fraud,” a form of
      • In the pig hunting phase, perpetrators identify victims to target. Wang           re-victimization from a diﬀerent oﬀender or diﬀerent fraud (Button
        and Zhou (2023) findings revealed that during this stage, perpe-                  and Cross, 2017).
        trators conduct research with the intention of planning out eﬀective
        strategies to employ to reap maximum profit, including collecting                  Cross (2023) pointed out that the initial stages of a romance fraud
        background information before initiating contact and by inquiring              pertain to romance baiting. She specifically highlighted diﬀerences in
        more about the victim within their first few interactions.                     the reasons for requesting money, where unlike romance fraud, re-
      • In the second phase, the nurturing/grooming phase, Wang and                    quests for money are not premised on emergency situations (e.g., hos-
        Zhou (2023) identified that perpetrators use pre-written scripts on            pital expenses). Cross (2023) further pointed out that romance baiting
        relationship expectations and resonance techniques that are designed           was not only harder to detect and investigate than romance fraud, but
        to increase the victim’s emotional dependence on the perpetrators.             also that ‘red flags’ were reduced with romance baiting by oﬀering
        The use of pre-written scripts has also been identified in romance             investment opportunities rather than asking for money directly.
        fraud. According to Lazarus et al. (2023), these scripts are frequently            Non-governmental and governmental organizations have also
        obtained “from underground forums” and “are categorized based on               identified the stages of pig butchering. GASO (n.d.) also broke down pig
        the age, ethnicity, and gender of the targets” (p. 13).                        butchering in various stages: packaging (i.e., perpetrators falsely re-
            Wang and Zhou (2023) identified three “visceral influences”                present themselves and gain the interest of the victim); raising (i.e.,
        perpetrators target by using resonance techniques to increase the              perpetrators build and invest time in the relationship with the victim
        victim’s emotional dependence on the perpetrators, and ultimately,             while grooming them to invest; killing (i.e., incentives oﬀered to invest
        persuade them for eventual investment. These visceral influences are           money, victims attempt to withdraw their funds and are unable to do
        a target’s “desire to know a stranger show[s]… interest... in them             so, excuses are given as why payments are needed to obtain funds, and
        (victims), desire to have a romantic relationship, and desire to be            coercive measures used to get victim to invest); and the killed stage (i.e.,
        liked by someone with commonalities” (Wang and Zhou, 2023, p.                  often try to coerce victims into giving them more money that is ‘owed to
        926). Tactics used to elicit the desired influences include “sharing           them’ and ultimately block the victim). In the U.S., the FinCEN (2023)
        fabricated personal life details,” “increasing the victims’ expectations       identified the following methods used by perpetrators of pig butch-
        of future romantic relationships,” and relating interpersonally to the         ering: initial contact with the victim (to gain victim’s confidence and
        victim (Wang and Zhou, 2023, p. 926). At this stage, the perpetrators          trust); the investment ‘sales’ pitch (convincing the target to invest); the
        discuss investments and introduce investment opportunities. More-              promise of greater returns (accumulating victims’ funds); and the ‘point of
        over, Wang and Zhou (2023) found that perpetrators will also elicit a          no return’ (i.e., stealing the funds once a substantial sum or a target sum
        higher degree of trust from the victim during this stage by invoking           is received, and ultimately becoming unreachable and ceasing com-
        “authoritative figures” by way of professional or seemingly profes-            munications with the targets).
        sional investment applications/websites and attributing knowledge to
        professional aﬃliations. This is similar to the techniques that perpe-         2.3.4. What’s in a name
        trators of romance fraud use to establish authority and credibility               The term pig butchering has been criticized both for its lack of
        (Lazarus et al., 2023).                                                        sensitivity towards victims but also because it does not adequately

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     conceptualize the crime it aims to describe (Cross, 2023; Whittaker                newspapers, we conducted clearnet searches to find supplemental in-
     et al., 2024). In solidarity with Cross’ (2023) assessment of the crude-           formation about these cases.
     ness of the term ‘pig butchering’ and Whittaker et al.’s (2024) assess-                Once we identified 59 cases, we conducted a comprehensive quali-
     ment of this term as degrading and harmful to victims, we argue against            tative case study analysis. This analysis was motivated by the following
     its continued use and propose the use of the term hybrid investment                research questions: Who are the oﬀenders and targets in pig butch-
     fraud, as it: 1) better represents the multifaceted nature of this fraud; 2)       ering? Is pig butchering committed by lone actors, dyads, or by orga-
     encompasses the ultimate goal of this fraud (i.e., investments), which is          nized criminal groups? What are oﬀenders’ tactics, tools, areas of op-
     the way this cyber-enabled fraud is recorded in the United States by               eration, and modus operandi?
     IC3; 3) uses the word fraud to describe the crime instead of the widely                We developed a codebook with our findings. This codebook in-
     used ‘scam’ because a scam is, by definition, not a crime; 4) uses the             cluded information about the type of fraud, loss associated with the
     term fraud to underscore the seriousness of the crime and not minimize             fraud, length of the fraud, victim and oﬀender, and the tools, tactics,
     or trivialize it (Lazarus et al., 2023); and 5) does not dehumanize vic-           and methods of operation of perpetrators of this fraud. To ensure in-
     tims by equating them to ‘pigs’ and what happens to them as a ‘pig                 tercoder reliability, the cases were coded and discussed to verify con-
     slaughter.’ For these reasons, we will refer to ‘pig butchering’ as hybrid         sistency and resolve any disagreements. The authors also reviewed the
     investment fraud hereafter.                                                        final coding and conducted a final quality check.

     3. Methods                                                                         4. Findings and discussion

     3.1. Data sources                                                                      Our in-depth analysis of the cases in our dataset revealed variations
                                                                                        in the type of hybrid investment fraud perpetrated, the impact of the
         Hybrid investment fraud is a relatively new phenomenon and has                 fraud, victim and oﬀender demographics, and the methods of opera-
     not been reported on extensively. Thus, we cast a wide net to gather a             tion, including the tools, and tactics perpetrators used to commit this
     robust data set. We triangulated several diverse sources to obtain the             cyber-enabled crime.
     most complete picture possible about hybrid investment fraud. To
     achieve this, we reviewed news reports and court documents that de-                4.1. Type of hybrid investment fraud
     scribed instances of hybrid investment fraud. We specifically examined
     documents between January 1, 2018, and November 1, 2023, as the                        Our cases revealed various complex, multidimensional frauds that
     colloquial term ‘pig butchering’ started to appear in online reports in            do not fit within Beals et al. (2015) fraud typology, representing a
     2018. To find documentation of hybrid investment fraud cases with                  departure from the one-dimensional conceptions of fraud in this ty-
     victims in the United States, a private case law database (NexisUni) was           pology, and demonstrating that certain frauds today do not fit neatly
     used. On NexisUni, we used the following search terms: pig butchering;             into singular categories as required by these designations. Instead, our
     Shā Zhū Pán; Shāz Hū Pán; and a combination of the terms ‘romance                  findings revealed various forms of hybrid investment fraud.
     scam’ and ‘investment scam;’ ‘romance scam’ and ‘cryptocurrency;’                      One of these hybrid investment frauds involved romance fraud and
     ‘investment scam,’ ‘romance scam’ and ‘cryptocurrency;’ ‘trust-based,’             cryptocurrency investment fraud. This finding is in line with the lit-
     ‘investment,’ and ‘scam;’ ‘cryptocurrency’, ‘confidence,’ and ‘scam;’ and          erature that identifies this form of fraud as the convergence of romance
     ‘crypto’ and ‘catfishing.’ As two transliterations for “Shā Zhū Pán” were          fraud and investment cryptocurrency fraud (Cross, 2023). Nonetheless,
     used in documents, both were searched for, as described above (how-                our dataset also included cases that did not involve romance fraud,
     ever, we note the correct term is Shā Zhū Pán). Moreover, results were             where only friendships and/or professional relationships were devel-
     limited to content from North America and documents written in                     oped. This designation diﬀers slightly from the original conception of
     English. We reviewed the results from our searches, particularly ex-               Shā Zhū Pán, but cases that are more in line with the original con-
     amining news reports under the “news” section and court documents                  ceptualization were also represented. Specifically, our dataset included
     from the “briefs, pleadings, and motions” section of the platform. In the          cases where the relationship fostered between a victim and oﬀender
     news results, “group duplicates” was turned on. We did not use any web             was friendship, and cases that involved only a professional relationship.
     scraping tools as NexisUni does not allow scraping as part of its terms of         These cases illustrate the multidimensional nature of hybrid investment
     use. Utilizing this search process, we identified over 1,314 documents             fraud, whereby contacts and connections are made to achieve the end
     that contained combinations of our relevant keywords.                              goals - the maximum number of investments to obtain as much money
                                                                                        as possible from the victim.
     3.2. Data analysis
                                                                                        4.2. Fraud impact
         We reviewed 1,314 documents to identify cases of hybrid invest-
     ment fraud. Our review was limited to incidents involving victims based                The exact amount of the targets’ financial losses was not always
     in the United States, thus, any article that described hybrid investment           included in the cases in our dataset. In the cases where this information
     fraud but included victims who lived outside of the U.S. were removed.             was included, the financial losses ranged from $22,000 USD to 9.6
     We also removed documents that only provided warnings and tips to                  million USD. In the case of the smallest reported fraud loss, a man was
     avoid hybrid investment fraud and any documents that did not have                  defrauded out of $22,000 USD by someone he met on the MeetMe
     details about an actual case. To ensure intercoder reliability, the au-            dating app (C36, Sophos, 2023). The case with the largest amount of
     thors reviewed the documents separately, coded the cases separately                reported financial loss involved a victim who invested 9.6 million USD
     (i.e., whether the case was a hybrid investment fraud or not), then re-            over four months on what they were led to believe was a legitimate
     viewed their results together. We disagreed on 34 documents and dis-               cryptocurrency investment platform (C21). Most of our cases involved
     cussed our respective coding to resolve these disagreements.                       victims who invested hundreds of thousands of dollars, which is much
     Ultimately, we were able to identify 59 distinct hybrid investment fraud           higher than the average loss reported internationally (see, for example,
     cases with victims in the United States that occurred between January              GASO, 2022). While GASO (2022) reported an average loss for U.S.
     1, 2018, and November 1, 2023 (see Table 3). Of these incidents, we                victims in the low hundreds of thousands USD, the cases we identified
     found court documents for 24 cases, and 35 cases from newspaper ar-                predominantly reported losses in the mid to high hundreds of thousands
     ticles covering unique instances of hybrid investment fraud carried out            USD. Our dataset also included multiple cases where the fraud loss to
     on victims within the United States. For the cases we identified in                victims was in the millions. While there were two cases (C44 and C40)

                                                                                    6
    Table 3
    Cases (*Full citations included in the reference list).

     Case      Citation                                Case   Citation                          Case   Citation                                 Case   Citation                         Case   Citation

     C1        In the Matter of Application by the     C13    Leonard Terry Licht v. Tina       C25    U.S. Attorney’s Oﬃce and Central         C37    Podkul, 2022**; Farivar, 2022    C49    Middle East North Africa Financial
               United States for Seizure Warrant,             Ling and Luxkey, 2023                    District of California, 2023*,a                                                         Network, 2022
               2022
                                                                                                                                                                                                                                     M.-H. Maras and E.R. Ives




     C2        United States of America v.             C14    United States of America, v. 1.   C26    Kelly, 2023**                            C38    Pawaon, 2023b                    C50    Falcon, 2022**,c
               Approximately 1,360,000.748                    12,324.84 USDT et al., 2023
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               Tether et al., 2023
     C3        United States of America v. Hailong     C15    Commodity Futures Trading         C27    Kelly, 2023**                            C39    Middle East North Africa         C51    Wang, 2021**,d
               Zhu, 2023a; United States of                   Commission, v. Cunwen Zhu                                                                Financial Network, 2023
               America v. Hailong Zhu, 2023b;                 and Justby International
               United States of America v. Hailong            Auctions, 2023
               Zhu, 2023c; United States of
               America v. Hailong Zhu, 2023d
     C4        United States of America v.             C16    State of Indiana v. Xu Xiongju    C28    Bartlett, 2023                           C40    Lee, 2022                        C52    In the Matter of the Seizure of
               5,012,294.90 in TetherUS et al.,               et al., 2023                                                                                                                     Funds not to Exceed $351,000.00
               2023                                                                                                                                                                            et al., 2022
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     C5        Gurung, Anjita v. Metaquotes et al.,    C17    United States of America v.       C29    In the matter of Cresttrademining        C41    Alabama Securities               C53    In Re Bien, 2022
               2023                                           Jin Hua Zhang et al., 2022               Limited*,e                                      Commission, 2022
     C6        United States of America v.             C18    OKX.com, Elaine Kim Chen          C30    In the matter of Forex Market Trade*,g   C42    Federal Trade Commission         C54    United States of America vs.
               56,382.9700 Tether et al., 2023                Yu et al., 2023f                                                                         FTC, 2021h                              $811,549.41 et al., 2023
     C7        United States of America v.             C19    Adebayo, 2023                     C31    In the matter of MetaCapitals            C43    Sophos, 2023b                    C55    Albert Abed v. Wei Lin et al., 2023
               Approximately 503,349.86 Tether                                                         Limited*,i
                                                                                                                                                                                                                                                                                       




               et al., 2022
     C8        United States of America, v.            C20    Zimwara, 2023j                    C32    Armstrong, 2023                          C44    Faux, 2023                       C56    United States of America, vs.
               86,766.00 USDT et al., 2023                                                                                                                                                     Ze'shawn Stanley, 2023***
     C9        Michael Bullock v. Jessica Doe          C21    In the matter of seizure of the   C33    Sophos, 2023al                           C45    U.S. Attorney's Oﬃce, District   C57    U.S. Department of Financial




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               et al., 2023                                   domain names simexcbr.com                                                                of New Jersey, 2022*                    Protection and Innovation, 2022am
                                                              et al., 2022; U.S. Attorney’s
                                                              Oﬃce, Eastern District of
                                                              Virginia, 2022*,k
     C10       In the matter of the seizure of up to   C22    Schoeﬀ, 2023                      C34    Podkul, 2022**                           C46    Lim, 2022                        C58    U.S. Department of Financial
               489,269.52 Tether et al., 2023                                                                                                                                                  Protection and Innovation, 2022bn
                                                                                                                       **
     C11       Brian Hoop v. Emma Doe and John         C23    Owczarzak, 2023                   C35    Podkul, 2022                             C47    Allen, 2021                      C59    U.S. Department of Financial
               Does I-XX et al., 2023                                                                                                                                                          Protection and Innovation, 2022co
                                                                                                                       **
     C12       Divya Gadasalli v. Jerry Bulasa         C24    CE Noticias Financieras           C36    Podkul, 2022                             C48    Roose, 2022
               et al., 2022                                   English, 2022b

    *Court document of case used that the NexisUni news report mentioned details about or referenced.
    **
       More than one case included in the source.
    ***Other document used based on information obtained from NexisUninews report (Sandhu-Longoria, 2023).
    a
      Other document used, which was found based on information from the NexisUni news report (Crypto Breaking News, 2023b; In the Matter of Seizure of any and all funds 2022).
    b
      Other document used, which was found based on information from the NexisUni news report (Anuforo, 2023).
    c
      Other document used about case NexisUni news report (CE Noticias Financieras English, 2022a) referenced.
    d
      Other document used about case NexisUni news report (CE Noticias Financieras English, 2022a) referenced.
    e
      Other document used about case NexisUni news report (Governance, Risk & Compliance Monitor Worldwide, 2023) referenced.
    f
      Court document about case the NexisUni news report (U.S. Fed News, 2023) referenced.
    g
      Other document used about case NexisUni news report (Governance, Risk & Compliance Monitor Worldwide, 2023) referenced.
    h
      Other document used that was identified based on information included in NexisUni news report (Podkul, 2022).
    i
      Other document used about case NexisUni news report (Governance, Risk & Compliance Monitor Worldwide, 2023) referenced.
    j
      Other document used about case NexisUni news report rt (Crypto Breaking News, 2023a) referenced.
    k
      Other documents used, which were identified based on information provided by the NexisUni report (Pepper, 2023).
    l
      More information about this case was obtained from the original Sophos news report referenced in the NexisUni news report.
    m
       Other document used about case NexisUni news report (Governance and Compliance Monitor Worldwide, 2022) referenced.
    n
      Other document used about case NexisUni news report (States News Service, 2022b) referenced.
                                                                                                                                                                                                                                     Journal of Economic Criminology 5 (2024) 100066




    o
      Other document used about case NexisUni news report (States News Service, 2022a) referenced.
                                                                                                                                                                                                                                                                                                                      Case 1:24-cv-00313-MJT Document 10-4 Filed 09/03/24 Page 22 of 54 PageID #: 509
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     where targets invested only $100 USD, these cases were not included as            but some of the documents involved civil actions where oﬀenders were
     the lowest amount of investment because the targets were journalists              not named. In certain cases, the number of oﬀenders were identified
     and knew they were being defrauded. For example, in one of these cases            (though not always with the names of oﬀenders). For instance, civil
     (C44), an investigative journalist followed the instructions of the of-           court documents named individual defendants as Jessica Doe (C9),
     fender and made a modest deposit only to learn more about how this                John Does (C9, C11), Emma Doe (C11), and Does (C18).
     fraud worked (Faux, 2023).                                                            Our dataset also identified the existence of organized criminal
         Our findings revealed significant financial losses that extended be-          groups, which are defined as “a structured group of three or more
     yond the initial target of the fraud. In several cases, victims requested         persons, existing for a period of time and acting in concert with the aim
     help from family and/or enlisted family and friends to ‘invest’ in the            of committing one or more serious crimes or oﬀenses established in
     scheme. Victims invested their inheritance, savings and/or retirement             accordance with ...[the UN Convention Against Transnational
     money, borrowed from retirement investment accounts, liquidated                   Organized Crime (UNTOC)], in order to obtain, directly or indirectly, a
     stocks, refinanced, or obtained a second mortgage on their homes, used            financial or other material benefit” (Article 2(a), UNTOC). In our da-
     parents’ home as collateral for loans, as well as money obtained from             taset, words such as ‘enterprise,’ ‘syndicate,’ or group were used to
     banks in the form of loans, and borrowed private funds from family                identify the involvement of three or more persons in the fraud. For
     members (e.g., parents). In one case, a victim liquidated his own and his         example, the word ‘syndicate’ was used to describe groups engaging in
     wife’s retirement accounts, obtained a second mortgage on their home,             hybrid investment fraud (C3) and groups engaging in hybrid investment
     sold their rental home, and recruited five (5) friends to invest in the           fraud have been accused of running criminal enterprises (C5) and en-
     scheme (C4). The total investments from the victim, his wife, and his             gaging in a “pattern of racketeering activity” (C16, p. 183). In one case,
     friends were about $4.3 million USD. Nevertheless, like other forms of            11 members of the group were mentioned, each with their own roles in
     fraud (Bilz et al., 2023), the losses associated with hybrid investment           facilitating or assisting the hybrid investment fraud, committing wire
     fraud are not just financial. Some victims reported adverse psycholo-             fraud, money laundering, bank fraud, passport fraud, identity theft and
     gical and physical consequences of the fraud, including suicidal                  other criminal activities (C17). In this case, we identified a familial
     thoughts, psychiatric distress, admittance to hospital and/or emergency           connection between perpetrators - two brothers ran their hybrid in-
     room, and the dissolution of and harm to interpersonal relationships              vestment fraud operation out of New York and New Jersey (United
     (e.g., separation and/or divorce after fraud revealed and harm to re-             States of America v. Jin Hua Zhang et al., 2022).
     lationships because they enlisted family and/or friends to invest in                  Moreover, our dataset revealed organized criminal groups operating
     schemes). These results are consistent with those found in meta-ana-              in concert to commit hybrid investment fraud. Specifically, one case
     lyses examining the outcome of romance fraud as several studies cite              (C15) identified three groups operating together to commit this cyber-
     victim reports of “shame, embarrassment, shock, anger, worry and                  enabled crime: solicitors (i.e., contacted victims, formed relationships,
     stress (Whitty and Buchanan, 2016)” that “can be associated with                  and convinced them to invest); trading firms (i.e., opened trade accounts
     subsequent physical and mental health problems… (Cross, 2019)” (Bilz              on behalf of victims); and shell companies (i.e., accounts used to obtain
     et al., 2023, p. 8). While monetary loss is often a focus of legal inter-         fraud and misappropriate funds from victims). Solicitors pretended to
     vention, emotional devastation frequently compounds the eﬀects of                 be experts with insider knowledge and contacts that helped them be
     various forms of cyber-enabled fraud.                                             successful traders and introduced victims (known as “scheme custo-
                                                                                       mers”) to trading firms. Trading firms directed scheme customers to
     4.3. Oﬀenders and victims                                                         download fraudulent apps, and victims and others transferred money
                                                                                       (for investment, fees, taxes, or other reasons) to shell companies.
     4.3.1. Oﬀender demographics                                                           Our dataset further revealed fraudulent companies, which played a
         Oﬀender gender demographics were not included for all oﬀenders in all         role in the hybrid investment fraud. For instance, the New Jersey
     cases in our dataset. This information predominantly denoted the gender of        Bureau of Securities ordered three companies to cease and desist op-
     oﬀenders’ online personas rather than their real identity (except for oﬀen-       erations as they were found in violation of the state’s securities laws for
     ders who were identified in court documents by their real names). Where           their involvement in hybrid investment fraud schemes (C29, C30, and
     gender identity related information was included (gender and gender pro-          C31). Furthermore, in certain cases, companies were listed alongside
     nouns included and/or oﬀenders identified), we observed that oﬀenders             individuals as defendants (e.g., C9 and C11).
     predominantly pretended to be a woman and targeted a man, or an oﬀender               The oﬀenders were located both in the United States and abroad. In
     pretended to be a man and targeted a woman. This tactic, known as gender          one case, one group was identified as operating in the same area in the
     swapping, is used to encourage the development of a romantic relationship         United States (United States of America v. Jin Hua Zhang et al., 2022).
     and a reported manipulation tactic in romance fraud studies (see, for ex-         Another case identified an organized criminal group made up of Chi-
     ample, Lazarus et al., 2023).                                                     nese and Namibian nationals that targeted U.S. victims operating in
         Many cases identified at least one oﬀender - either their real name           Namibia (C20). In other cases, perpetrators stated they were and/or
     or the fake name they used for the fraud, the person who contacted the            were believed to be in Canada, Cambodia, China, Laos, Thailand, Ma-
     victim, formed a relationship with the victim, and convinced and                  laysia, and Vietnam. Countries in Southeast Asia have been identified in
     pressured the victim to invest in an opportunity. However, this does not          government documents as source countries for hybrid investment fraud
     necessarily mean that only one oﬀender was involved in the fraud.                 (FinCEN, 2023) Particularly, in one case (C4), cryptocurrency exchange
     Many of the cases mention a customer service representative, broker,              accounts identified in the fraud were registered from countries where
     account manager, platform administrator, support, or other contact                hybrid investment fraud schemes originate (i.e., Thailand and Ma-
     from a fraudulent investment company. Certain cases also mention                  laysia) (United States of America v. 5,012,294.90 in TetherUS et al.,
     others, such as contacts or relatives who oﬀer investment assistance to           2023). Reports have shown that human traﬃcking organizations in
     the victim at the request of the person who initiated contact with the            Cambodia, Laos, Thailand, and Malaysia have forced traﬃcked victims
     victim; however, this does not necessarily mean that more than one                to conduct hybrid investment fraud (Keaton, 2023). Nonetheless, in
     person was communicating with the victim. We did not have complete                many of our cases, the real and/or perceived actual location of the
     data in most of the cases in our dataset to identify the number of of-            oﬀenders was not identified.
     fenders involved in the fraud (e.g., the same oﬀender could have po-
     tentially initiated contact with the victims and served as the customer           4.3.2. Victim demographics
     service or other representative from the investment platform). Court                 Predominantly, the names and demographic information of victims
     documents provided more robust information than the news articles,                were not included. Many cases included initials of victims instead of

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                 Table 4                                                                   request and a connection is made between the target and the oﬀender.
                 U.S. States where victims are located.                                    Our dataset revealed that various forms of telecommunications and
                   Alabama                                Michigan
                                                                                           electronic communications were used to send unsolicited communica-
                   Arizona                                Minnesota                        tions to targets. In the cases in our dataset that included this informa-
                   California                             New Jersey                       tion, targets were first contacted by oﬀenders via text messages (SMS)
                   Colorado                               New York                         or calls; communications platforms (i.e., WhatsApp, Telegram, and
                   Connecticut                            Ohio
                                                                                           Line); through social media platforms (i.e., Twitter, LinkedIn, Face-
                   Delaware                               Pennsylvania
                   Illinois                               South Carolina                   book/Meta, Snapchat, and Instagram); on online dating platforms (i.e.,
                   Indiana                                Tennessee                        Tinder, Hinge, MeetMe, and Zoosk); and other online platforms (i.e.,
                   Iowa                                   Texas                            Homesnap, Airbnb, Hello Talk, and Tandem). Two language apps,
                   Georgia                                Virginia                         HelloTalk and Tandem, which were designed to connect individuals
                   Maryland                               Washington
                   Massachusetts                          Wisconsin
                                                                                           seeking to improve language skills, were identified in our dataset as
                                                                                           platforms individuals may repurpose and use to connect romantically.
                                                                                               The way oﬀenders approached targets varied by the type of tele-
     their names to protect their privacy. In those cases, we were only able               communications and electronic communications used. When the
     to identify gender based on the pronouns used. Where gender in-                       methods used to connect to targets were calls, texts, and messaging
     formation about victims was included, the number of victims that were                 applications, oﬀenders used various excuses to explain why targets
     men were more than double the number of victims that were women.                      were contacted. These unsolicited communications often occurred
     Only thirteen (13) cases identified the age of the victim. The ages                   under the pretext that oﬀenders accidentally contacted them, were
     identified in these cases ranged between 20 s and 60 s: ages 22 (C47),                reaching out to someone they purportedly knew, or were reaching out
     24 (C50), 33 (C48), 37 (C28), 41 (C27), 42 (C26), 46 (C46), 52 (C37                   pursuant to the direction of a third party. For example, in one case with
     and C51), 61 (C2), 62 (C1 and C32), 68 (C18). The ages identified in                  multiple victims (C25), one of the victims was contacted via text mes-
     our cases diﬀered from the victim age group of hybrid investment fraud                sage by a Chinese woman claiming that her mother supposedly en-
     that the Global Anti Scam Organization (GASO) identified: ages 25–40.                 couraged her to contact him for the purpose of discussing marriage. On
     Only a couple of cases included words relating to age groups (i.e., ‘re-              dating and social media platforms, oﬀenders connect with targets under
     tired’; C25) and/or age ranges to identify the relative and/or approx-                the guise of forming relationships, friendships, and/or professional
     imate age of the victims (i.e., age range of 30 – 39; C42). When the                  connections. A couple of our cases involved oﬀenders contacting targets
     relationship status of a victim was provided in the case documents,                   to request a service they were providing (e.g., life coaching services,
     victims in the cases were identified as single, married, divorced, and/or             real estate assistance, and short-term rental assistance).
     widowed. Further, our dataset, which focused on U.S. victims, revealed                    Initial contact also occurred in online group chats. In our dataset,
     that the victims were from various U.S. states (see Table 4).                         one victim, while participating in a group chat on Twitter, was in-
         Certain cases included information about the employment of victims. In            troduced to a fraudulent trading platform, known as Bitkam (C54).
     these cases, the victims who were targets of this cyber-enabled fraud in-             FINRA (2024) recently published an alert about fraudulent investment
     cluded (but were not limited to) a lawyer, life coach, trade manager, in-             groups on social media. Individuals posing as legitimate investment
     vestigative journalist, technology executive, software engineer, marketing            advertisers are giving investment recommendations in these groups,
     executive, financial advisor, real estate agent, hiring manager, business             which start on social media platforms and then often move their com-
     owner, and caretaker. Our dataset also revealed that vulnerable populations           munications to encrypted communications platforms (e.g., WhatsApp)
     were targeted. Specifically, in our dataset, we identified victims who were           (FINRA, 2024).
     emotionally vulnerable (e.g., isolated, loss of a loved one, recently divorced,           Following initial contact, most cases in our dataset revealed that
     or having marital/familial diﬃculties), medically vulnerable (e.g., long-term         oﬀenders encouraged communications to continue oﬀ social media and
     health problems and terminal diseases), and those who were technologically            online dating platforms to other messaging platforms (e.g., WhatsApp,
     vulnerable (i.e., those who are not well versed in cryptocurrency and in-             WeChat, Line, Skype, and Telegram). Victims are encouraged to move
     vesting cryptocurrency). For example, when one victim met the perpetrator,            oﬀ social media and dating platforms as these platforms have algo-
     she had been diagnosed with terminal cancer and was getting a divorce                 rithms that could detect suspicious and fraudulent activity. For ex-
     after 16 years of marriage (C24), another had lost his wife of 40 years to            ample, the Match Group, which includes dating apps, such as Match,
     cancer (C13). In another case, an elderly woman suﬀering from early onset             Hinge, Tinder, and Our Time, among others, has measures in place to
     dementia and multiple sclerosis became the target of a hybrid investment              help users identify fraudsters and fraud, by, for example, having user
     fraud (C52). In addition, one victim was a political refugee from Nepal, who          verification tools on their platforms, urging users to keep communica-
     came to the U.S. because she was targeted by the Communist Party of Nepa              tions on the platforms and to use existing verification tools, sending
     (C5). This victim struggled with severe health issues from her loneliness and         messages and alerts to users with online safety dating tips, and using
     separation anxiety from her family, who were still in Nepal and experien-             machine learning to identify fraudulent accounts based on activity
     cing threats and violence. Moreover, a hearing-impaired immigrant, who                (Skores, 2023; Goode, 2023). Nevertheless, these platforms are still
     fled Iran because of religious persecution, became a target of this cyber-            used to initially engage the victim, and then move communications oﬀ
     enabled fraud (C55).                                                                  these platforms to avoid detection of the fraud and deletion or blocking
                                                                                           of their accounts.
     4.4. Hybrid investment fraud stages: Oﬀenders’ M.O
                                                                                           4.4.2. Cultivating the relationship
        Our dataset revealed that hybrid investment fraud includes various                     Once a connection is made, the perpetrator initiates conversation to
     stages: approaching the target; cultivating a relationship with the                   ultimately build rapport, trust, and a relationship with the target. At
     target; discussing and promoting investments; getting victims to invest;              this stage, the oﬀenders adopt various storylines and personas to suc-
     and revealing the fraud. In what follows, we identify the stages and the              cessfully cultivate a relationship with victims. In our dataset, the of-
     tools and tactics used by oﬀenders in each stage.                                     fenders posed as entrepreneurs, asset managers, cryptocurrency in-
                                                                                           vestors or traders, employees at technology companies, architects, and
     4.4.1. The approach                                                                   business owners in the United States and abroad (e.g., a wine trader in
        At this stage, like FinCEN’s (2023) “initial contact with the victim”              France). The oﬀenders claimed to have made money from investments
     stage, a target receives an unsolicited call, message or connection                   and have expertise in cryptocurrency investments or gold trading.

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     Furthermore, one oﬀender in our dataset fraudulently posed as a mili-                 4.4.3.1. Securities and commodities. Real and fake securities and
     tary veteran (C56).6 Fake personas that include persons of authority or               commodities and associated technologies are the primary tools oﬀenders,
     credibility, like military members, are used to gain the victim’s trust               co-conspirators, and/or associates use to commit hybrid investment fraud.
     (Cross and Holt, 2021; Lazarus et al., 2023).                                         These tools are used by criminals to further their illicit ends and launder the
         When oﬀenders’ profiles on online platforms and apps included                     proceeds of their crimes. Our dataset revealed the use of cryptocurrency for
     pictures and/or oﬀenders shared images with the targets, the oﬀenders                 these purposes. Specifically, oﬀenders encouraged victims to purchase
     used images of attractive men and women and displayed wealth. The                     cryptocurrencies, such as Binance Coin (BNB), Bitcoin (BTC), USD Coin
     use of seductive images and visual portrayal of wealth are also common                (USDC), Tether (USDT), and Ethereum, and deposit them into accounts,
     tactics used in romance fraud more generally (Bilz et al., 2023; Lazarus              apps, and/or online platforms, controlled by the oﬀender(s) and/or
     et al., 2023). The oﬀenders’ aﬄuent lifestyles were purportedly made                  associates. Oﬀenders also directed victims to purchase/invest in
     possible by their investments in securities and/or commodities. A                     Decentraland’s virtual world cryptocurrency, such as Mana (C4).
     couple of the cases revealed storylines where the oﬀenders claimed to                 Nevertheless, not all investments in our dataset involved cryptocurrency.
     be Ivy League educated (e.g., Harvard University and University of                    Unlike existing work that reduces hybrid investment fraud to frauds that
     Pennsylvania). An oﬀender in one case posed as a graduate from the                    involve cryptocurrencies, our dataset revealed five (5) cases where victims
     University of Pennsylvania, with expertise in gold trading and a history              were not directed to invest in cryptocurrencies, but instead were directed to
     of extremely successful real estate and financial investments (C25).                  invest in a commodity, gold. In one case (C36), the victim fostered a
         Oﬀenders in our dataset feigned empathy for victims experiencing                  romantic relationship with a man claiming to make money in the gold trade
     hardships and provided emotional support. In one case, the oﬀender                    and asked him to teach her about this trading. The perpetrator taught her
     connected with the victim by consoling him over his father’s deterior-                how to invest using MetaTrader – a fake brokerage. Other cases (C25, C42,
     ating health and placement in hospice (C37). Other oﬀenders cited                     C43, and C55) similarly involved the same fake brokerage.
     personal hardship as the reason for investing in commodities. For ex-
     ample, in one case, the oﬀender, posing as a man, told the target that                4.4.3.2. Length of fraud. The length of the fraud was not always clearly
     when his family business closed during the COVID-19 pandemic, he                      delineated in the cases in our dataset. In the cases where the length of
     turned to cryptocurrency investments for income (C24).                                fraud was included, it was variable. Our dataset showed that some
         Additionally, oﬀenders in our dataset sought to establish personal bonds          frauds lasted a little over a month until about six months (from initial
     with victims and develop stronger connections with them. To do so, of-                contact to the ceasing of communications between victim and
     fenders frequently furthered false emotional connections with victims by              oﬀenders), while other cases lasted much longer. This does not
     incorporating shared trauma into newly developed narratives, or by estab-             exactly reflect Wang and Zhou’s (2023) findings, but also does not
     lishing common personality traits, aimed at solidifying their relationship.           drastically diﬀer from them. Moreover, it is possible that lengthier
     This tactic is like what is described by Whitty (2013) in the “grooming               frauds are reported with more frequency. The lengthiest fraud in our
     process,” GASO (n.d.) in the “packaging” and “raising” stage, and Wang and            dataset lasted for over two years (C5). In this case, over the course of
     Zhou (2023) in the “nurturing/grooming” stage. Specifically, what we ob-              two years, an unidentified oﬀender (John Doe) convinced Anjita
     served was the use of persuasion techniques (i.e., resonance techniques),             Gurung (a caretaker who was a native of Nepal living on the North
     such as “liking and similarity” to groom the victim (Wang and Zhou, 2023,             Coast) to invest about $597,000 USD.
     p. 926). For example, in one case, the victim stated: “He looked very le-                 The amount of time between the oﬀender initially contacting the
     gitimate, started talking business with me, knew the company I work at. He            target to the time it took to switch to friendly, professional, or romantic
     had a friend who went to the same university as me years ago, and so we               conversations to discussions of investment opportunities also varied. In
     really connected that way” (C46). Persuasion techniques such as “visceral             one case (C22), “[a]fter a couple of days of communicating, the suspect
     appeals, the creation of urgency, fast-moving relationships, appeals to strong        started to ask questions about the investor’s financial background and
     emotions and even isolation and monopolization” are often used alongside              investing habits” (In the matter of: www.batcipe.vip, James Yeh,
     linguistic devices to distract and disguise criminal intent from the victim by        www.batcnap.vip, Kenju Go, 2023), while in another case (C46), the
     pushing clues indicating fraud to the periphery of the victims’ thoughts and          oﬀender and the target were communicating for only two weeks before
     forefronting a connection and relationship (Bilz et al., 2023, p. 12).                the conversation turned towards investments. In another case (C1),
         We also identified the use of other resonance techniques identified by            after matching on a dating platform and moving their conversations the
     Wang and Zhou (2023) in their study. More precisely, oﬀenders shared false            same day, the oﬀender, within five hours of communicating switched
     personal information and experiences with victims. For instance, in one case          conversations to cryptocurrency, by “stat[ing], in an inorganic way to
     (C35), an oﬀender feigned a similar situation to the victim who informed              explain a five-minute delay in her response, ‘Sorry, I was just analyzing
     him that she had a brother with special needs that she cared for (i.e., cer-          the cryptocurrency blockchain market with my teacher’” (In the Matter
     ebral palsy), while in another (C48), the oﬀender claimed to be from the              of Application by the United States for Seizure Warrant, 2022, p. 10).
     same province in China as the victim’s birth family, even going so far as to          What was consistent throughout the cases in our dataset was that, de-
     jokingly claim that they are siblings.                                                spite the variation in the length of time between initial contact and
                                                                                           discussion of investment opportunities, the speed of this stage of the
                                                                                           hybrid investment fraud was relatively slow (with a few exceptions) – at
     4.4.3. Making the ‘case’ for the investment                                           least when compared to the next part of the process, which involves the
         In this stage, the oﬀender turns conversations towards investments.               target’s investment.
     The oﬀender then discusses expertise and/or prior success with in-
     vestments. The goal of these conversations is to introduce the target to a            4.4.4. The fraudsters’ toolkit for investments
     lucrative investment opportunity, and then entice them to invest                          At this stage, the oﬀender exploits the relationship and uses a series
     (which is the next stage). This can be likened to the FinCEN’s (2023)                 of confidence-building techniques to gain the target’s trust in the in-
     “investment ‘sales’ pitch” stage and Wang and Zhou’s (2023) “nur-                     vestment and/or coercive techniques to get the oﬀender to invest and/
     turing/grooming phase,” where the investments are discussed, and in-                  or continue to invest. This stage is equivalent to GASO’s (n.d.) “killing”
     vestment opportunities are introduced and encouraged.                                 stage, FinCEN’s (2023) “promise of greater returns” stage, and the “pig
                                                                                           harvesting phase” of Wang and Zhou’s (2023).

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         In the case, the oﬀender predominantly engaged in romance fraud (except           4.4.4.1. Confidence building measures. In a handful of the cases, victims
     for one case of hybrid investment fraud).                                             described measures taken by perpetrators to establish confidence in

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     their relationship and investment opportunities. These confidence                       to establish legitimacy of false narratives, which were shared to inspire
     building tactics ranged from oﬀering financial assistance to victims                    confidence in investment opportunities (e.g., C46; Lim, 2022). For
     for investments, to feigning insider knowledge of and connections to                    example, perpetrators often falsely depict invested funds increasing on
     investment platforms, to providing false documents and information                      fake online platforms and apps or via screenshots.
     verifying and authenticating investments and investment platforms, to                       4.4.4.1.4. Control over funds. In several cases in our dataset, victims
     promoting the illusion that victims have control over their funds, to                   could withdraw some of their deposited funds from their investments,
     educating the victims.                                                                  at least initially. In another case, one victim mentioned that in order to
         4.4.4.1.1. Oﬀers of financial assistance. To encourage further                      test his control over funds he invested (and to check the legitimacy of
     investments, certain oﬀenders even oﬀered to contribute money to                        the platform), he withdrew money and then deposited it again in his
     victims’ investments so victims can reach a higher investment goal and/or               ‘investment’ account (C23). To this victim and others in our dataset, the
     when victims could not invest more money and/or could not obtain all the                success of this test (or tests, as certain victims were able to make more
     funds requested by the platform to withdraw their funds. This is unique to              than one withdrawal) alleviated concerns and served as proof of the app
     hybrid fraud as this action is only possible due to the trust established by the        and/or platform’s legitimacy. This is similar to the tactic Wang and
     intimacy of interpersonal relationships and the tactics used in investment              Zhou (2023) describe where perpetrators ask victims to make initial
     fraud. In one case (C42), the oﬀender oﬀered to co-deposit money into the               investments on their secondary accounts to inspire victim confidence
     victim’s trading account (she was told to deposit $410,000 USD to her                   and reinforce their perceived control over the situation. This method
     account and he claimed we would deposit $700,000 USD to her account). In                also contributes to another related tactic that perpetrators employ;
     the cases where oﬀenders purportedly financially contributed to victims’                educating victims on investment (see next section).
     investments, they requested money from victims for personal expenses and                    4.4.4.1.5. Served as teachers. A comfort level was established with
     demanded more investments from victims, and the investment platforms                    investing to encourage victims to invest more over time. This was
     notified victims that third parties were not allowed to contribute to victims’          achieved by oﬀenders oﬀering to teach victims how to trade. Oﬀenders
     investments and financial and personal information from these contributors              walked victims through the process of investing (e.g., by providing
     was needed to verify the lawfulness of the transactions (i.e., to rule out              screenshots of their screens or assisting them through video) and in
     money laundering). In the cases where the fraudulent investment platforms               limited cases, if assistance was needed, oﬀenders requested remote
     notified the victims of the issues associated with third party contributions,           access to victim devices to register them, registered virtual currency
     the victims had their accounts frozen and/or were charged fees as a penalty             service provider or virtual asset provider accounts on behalf of the
     and for other reasons.                                                                  victim, and took control over the victim’s account and/or made the
         4.4.4.1.2. Insider knowledge and connections. Some oﬀenders claimed                 investments on the victim’s behalf. In one case (C9), the oﬀender sent
     to have insider knowledge and connections. In several cases, oﬀenders who               “screenshots of her phone with boxes (made using a hand-drawn
     promoted investment opportunities to victims pretended to have a familial               feature to superimpose lines and shapes onto photos and screenshots)
     connection, most frequently an uncle, to the investment platform and/or                 showing [him] which buttons she wanted him to click” (Michael
     someone with expertise in investment trading. In one case (C55), an uncle               Bullock v. Jessica Doe et al., 2023, p. 10). Oﬀenders also walk certain
     was mentioned during the initial interactions (“only child and lucky to have            victims through the successful withdrawal of some money they invested
     a great uncle who treats her as his biological daughter” p. 2). This initial            to show that the site or platform can be trusted.
     introduction made the segue into later discussions about her uncle’s                        Perpetrators provided education regarding cryptocurrency to build a
     connections to investment claiming that he is a “senior financial analyst               false sense of financial literacy, which they could then exploit. An ex-
     at Blackstone Group and had been giving her financial advice” (p. 2). In                ample of this tactic was seen in cases where perpetrators encouraged
     another case (C4), the oﬀender, who used a female persona (‘Gracie’),                   victims to invest using Tether, because it was a ‘stable coin’, meaning
     claimed her uncle had a direct relationship with the management of the                  that this cryptocurrency had a more stable value. This trust in the
     cryptocurrency exchange platform (NTU Capital) to encourage the victim to               cryptocurrency used imbues victims with confidence to invest in high-
     open an account there. Moreover, another oﬀender in our dataset                         risk markets without considering other risks associated with new in-
     mentioned that her uncle, who ran an investment analysis team, would                    vestments, including potential fraud.
     inform her of trades she should make (C25). Similarly, a victim in Wang and
     Zhou’s (2023) dataset revealed that an oﬀender mentioned an experienced                 4.4.4.2. Love bombing. Love bombing, which involves overwhelming a
     uncle who taught him how to invest and conduct the requisite “financial                 person with attention, aﬀection, and constant communication via call,
     statistical analysis” needed to profit from investments (p. 929).                       messages, emails, and other forms of communication, is another tactic
         Other cases identified relatives as having insider information and                  that may be used by an oﬀender in hybrid investment frauds. In the
     contacts within investment platforms. In one case, an oﬀender with a                    cases where romantic relationships (albeit false) are cultivated between
     female persona claimed to have an uncle that could obtain insider in-                   victim and oﬀender, the oﬀender rapidly professes their love for the
     formation about trading (C59). In another case (C9), an oﬀender named                   victim and discusses major life events with them, such as marriage and
     Jessica told the victim that she had a godmother, who was “a purported                  children. In one case (C1), the oﬀender professed her love for the victim
     insider and analyst at an options trading firm,” and provided her with                  in less than 24 hours of initial contact. The purpose of the use of this
     information that helped her successfully trade cryptocurrency options                   tactic is to create a connection with and dependency on the oﬀender to
     (p. 7). Apart from cases that revealed a familial connection, an oﬀender                enable the oﬀender to engage in manipulation and control tactics. In
     from a case in our dataset (C25) claimed her best friend served as the                  one case of love bombing (C40), the oﬀender immediately started to
     Chief Financial Oﬃcer of the investment platform.                                       engage in love bombing through repeated flattery and the sending of
         In their study, Wang and Zhou (2023) found that fraudsters “appeal                  romantic messages. In another case (C2), one oﬀender, who professed
     to individual figures that have authoritative backgrounds, such as a                    love for the target only after two days of communicating, demanded
     family member working in a financial sector or an investment mentor,                    that the victim delete the messages of the perpetrator and the link the
     who either teaches fraudsters the investment skill or informs them how                  oﬀender provided to the fraudulent investment application to prove
     to earn quick money” (p. 929). These connections with ‘authoritative                    that the victim was dedicated to him, thus forcing a more intimate
     figures’ help build trust in the oﬀender, the platform, and the invest-                 connection between the two, through a display of devotion.
     ment process (Wang and Zhou, 2023).
         4.4.4.1.3. Fake supporting documentation. In the cases we gathered                  4.4.4.3. Threats. Oﬀenders in our dataset used coercive measures to
     for this study, we identified cases where oﬀenders procured fake                        establish relationships and pressure victims to invest and provide
     financial information and documents (including fake financial charts)                   additional funds to their original investments. When victims could no

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     Table 5                                                                            spoofed websites also falsely claim to be award winning, aﬃliated with
     Examples of types of taxes, fees, penalties, and other charges to withdraw         the legitimate cryptocurrency exchanges, U.S. Financial Crimes
     funds.                                                                             Enforcement Network (FinCEN) compliant, and regulated by the
       account guarantee                                  risk deposit fee              “United Stated (sic) Money Services Business” (see, for example, C4,
       annual fee encumbrance                             risk verification fund        United States of America v. 5,012,294.90 in TetherUS et al., 2023).
       blockchain congestion                              security deposit                  With a few exceptions in our dataset, targets did not have prior
       capital verification                               service fee                   history, knowledge, or experience with the securities and commodities
       credit enhancement guarantee                       transfer funds
       expediting the withdrawal                          unfreeze account
                                                                                        investments promoted by the oﬀenders. Our dataset included cases
       margin loan fee                                    verification                  where the investment promoted was liquidity pool mining, which is a
       management review                                  VIP member                    legitimate but complex trading process. This form of mining works as
       profit tax                                         withdrawal fee                follows:
       reflection fee                                     withdrawal processing
                                                                                           A liquidity pool is a crowdsourced pool of cryptocurrencies or to-
                                                                                           kens locked in a smart contract that is used to facilitate trades be-
     longer invest funds and/or obtain the necessary amounts needed to pay                 tween the assets on a decentralized exchange (DEX). Instead of
     fees, penalties, taxes and/or other charges (see Table 5), the victims                traditional markets of buyers and sellers, many decentralized fi-
     were threatened with the loss of the entire amount of their investment,               nance (DeFi) platforms use automated market makers (AMMs),
     further fees, freezing of their account, and/or criminal prosecution (i.e.,           which allow digital assets to be traded in an automatic and per-
     for insider trading or money laundering). In one case with multiple                   missionless manner through the use of liquidity pools. Crypto li-
     victims (C25), one of the victims, after seeing profits on the platform,              quidity providers are incentivized by earning trading fees and crypto
     attempted to withdraw money from the account. A ‘representative’                      rewards (new cryptocurrencies which can in turn be traded for other
     from the platform notified the victim that money could not be                         cryptocurrency or fiat currencies) (Seizure warrant, REACT Case
     withdrawn. In particular, the victim was notified that his account was                #RT-2205–06106).
     frozen because the platform believed that some of the transactions of
     the victim might be illegal. The victim was informed that to lift the                  Victims’ limited knowledge of this form of investment was leveraged
     freeze on the account he had to pay 15% of the amount in the account               by perpetrators to engage in hybrid investment fraud. In one case, the
     to have the account reviewed. The victim was also informed that if he              perpetrator recommended a liquidity pool site, which “was a fraud site
     did not pay this money his account would be terminated. Furthermore,               utilizing the brand of Allnodes, an established decentralized finance
     the victim was informed that nonpayment would result in his                        platform provider” (C33; Sophos, 2023a). When the victim purchased
     blocklisting and reporting to financial institutions and banks around              the ‘mining certificate’ that the oﬀender suggested, the victim actually
     the globe. In another case, an oﬀender threatened to harm the victim’s             signed a smart contract that gave control of his wallet to the oﬀender
     consumer credit score (C9).                                                        (i.e., when he bought the ‘mining certificate,’ he clicked on a prompt
         Certain oﬀenders who fostered relationships with victims engaged               from his Coinbase wallet app that did not clearly explain he was signing
     in intimidation tactics, verbal abuse, blackmail, and threats of physical          over full access to his money). GASO (2021a) delineated how this was
     violence and harm. In one case (C11), when the victim refused to pay               possible when they identified the Coinbase Wallet app flaw when
     more money, the oﬀender (who identified as ‘Emma’) became furious,                 communicating with perpetrators engaging in hybrid investment fraud
     attempted sextortion (i.e., threatening release of intimate messages and           and following their instructions:
     images if remuneration not provided) and informed the victim that she                 While speaking with one of these ‘crypto mining’ scammers, I
     hired people to kidnap and torture him and have his organs harvested.                 downloaded Coinbase Wallet and visited the scam site…With no
     Similarly, in one case (C5), after investment payments were terminated,               money in my wallet, I pressed a button from within the Coinbase
     the victim was harassed with threatening and sexually vulgar telephone                Wallet browser to join the mining pool, and just like that the scam
     calls via Viber and Telegram, aimed at encouraging her to reinstate her               website attempted to initialize the smart contract. Since I had no
     payments or to punish her for refusing to engage further. Such fear and               money in my wallet, I was informed that I didn’t have enough
     intimidation are cited as common tactics used to coerce targets into                  money to join the pool. However, if I did have the required funds, a
     complying with oﬀenders’ demands (Buchanan and Whitty, 2013;                          smart contract would have been authorized by Coinbase Wallet
     Carter, 2020; Lazarus et al., 2023).                                                  without my informed consent, leading me into one of these never-
                                                                                           ending subscriptions that could drain my wallet within a year, a
                                                                                           month, or even a day. This clearly is a just cause for
     4.4.4.4. Tactics to obscure the fraud. There were several tactics used by
                                                                                           alarm…Coinbase must hand over an authentication key to the scam
     oﬀenders to obscure the fraud, making it harder for victims to identify
                                                                                           … [app] in order to initiate the contract, yet makes no mention of
     the fraud. In most cases that involved cryptocurrencies, victims were
                                                                                           this to the user, nor asks the user to aﬃrm their consent to hand over
     directed to legitimate cryptocurrency exchanges (e.g., Binance,
                                                                                           this authentication key.
     Bitstamp, Coinbase, Crypto.com, Gemini, Kraken, OKX, and Poloniex)
     to create a cryptocurrency account, and then directed to investment                    Thus, perpetrators of hybrid investment fraud not only take ad-
     apps and platforms controlled by oﬀenders. The actions taken                       vantage of victims’ limited knowledge of trading processes by pro-
     thereafter were designed to confuse targets and trick them into                    moting fraudulent investments based on real investment processes, but
     providing oﬀenders with control over the cryptocurrency account                    also exploit vulnerabilities in existing platforms and apps to surrepti-
     and/or transferring money to accounts, platforms or apps controlled                tiously perpetrate the fraud.
     by oﬀenders.                                                                           Moreover, disinformation, misinformation, and conflicting in-
         One of the tactics identified in the dataset was domain spoofing,              formation online complicated victim’s eﬀorts to identify the fraud.
     which is used to trick targets into downloading apps and/or accessing              Some fraudulent websites and/or fraudulent information provided by
     and using fraudulent websites designed and controlled by oﬀenders.                 the oﬀenders is easier to identify than others. For example, a fraudulent
     The spoofed website is designed to convince individuals that the site is           site identified in one of our cases (C39), Coinrule-web3, was covered by
     legitimate and trustworthy, but it is actually a fake domain masquer-              a website in a ‘news story’ identifying the platform as a preferred fi-
     ading as a legitimate domain. For example, the spoofed website, by-                nancial investment platform (Platte-Valley News Channel Nebraska,
     bit.us, which the victim was directed to, mimicked the legitimate                  2023). While there were instances of victims conducting research to
     cryptocurrency exchange site Bybit.com (C18). To appear authentic,                 determine if what was being presented was fraudulent, these

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     individuals were unable to accurately identify the fraud for various               companies with names (e.g., HomeGoods LLC; C54) that would not be
     reasons. For instance, a victim conducted online research after being              flagged as suspicious and would avoid drawing the attention of au-
     asked to pay taxes when attempting to withdraw invested crypto-                    thorities; and to delete their social media account because it was not
     currencies (C25); when the victim came across information that stated              ‘safe’ (C25). Oﬀenders have also added false reasons for the receipt of
     that the Chinese government requires 20% on any transactions, the                  funds and/or have created fake invoices to justify the receipt of funds
     victim paid the ‘taxes.’                                                           from victims, such as claiming that payment was received for the sale of
         Further, oﬀenders lied to conceal their true whereabouts and to                toys, electronics, or other goods (e.g., C54), among other reasons.
     explain inconsistencies in their actions and stories. When perpetrators
     were outside of the United States, such as those in Namibia, they op-              4.4.5. The fraud reveal
     erated during specific times to account for the time diﬀerence with the                If the target cannot pay and/or refuses to provide any more funds,
     U.S. to make it seem as if the oﬀenders were in the same or close to the           communications between oﬀender, target, and others involved in the
     same time zone as the victim (C20). Additionally, to explain contacting            fraud cease (with few exceptions). Overall, the target does not recover
     the victim from a diﬀerent phone number, the oﬀender claimed that his              some or all the funds (with few exceptions identified in the literature;
     phone was hacked (C53).                                                            see (Farivar, 2023). Our dataset revealed that the fraud was identified
         Finally, the oﬀender, who pretended to be the victim’s friend or in a          in a variety of ways. This stage is like GASO’s (n.d.) “killed” stage and
     romantic relationship, would feign having similar experiences with                 FinCEN’s (2023) “point of no return” stage.
     investment platforms, particularly when fees were required to with-
     draw funds. Specifically, in hybrid investment fraud, to obtain as much            4.4.5.1. Conducted research. In certain cases, the fraud was identified after
     money as possible from victims, they are asked to pay fees, penalties,             victims engaged in research. For example, one victim discovered the fraud
     taxes and/or other charges when they attempt to withdraw investment                after contacting Sophos (a cybersecurity company) and reviewing an article
     funds. One victim in a case with multiple victims (C25), contacted an              published by them on liquidity mining (C33). The victim was informed that
     oﬀender (the person who he fostered a relationship with) to discuss the            he was a victim of fraud and was told to block and cease communications
     fees the representative of the platform told him about. The oﬀender                with the perpetrators. Other victims conducted research after either
     substantiated the representative’s claim by falsely claiming that when             experiencing a negative consequence (e.g., being unable to withdraw
     her account was supposedly more than $10,000,000 USD, she was in-                  money and/or being told money was needed to make withdrawal) or
     formed that she had to pay $1.8 million USD to unfreeze the account.               after an organization or agency informed them of potential fraudulent
     The oﬀender also falsely stated that she was able to unfreeze her ac-              transactions. After being told by a customer service representative of the
     count and access her funds after making the payment. Another oﬀender               platform he was using to provide $1.5 million USD to withdraw his money,
     who targeted a diﬀerent victim in this case went so far as to provide a            a victim searched online and found a U.S. Federal Bureau of Investigation
     screenshot from the Chief Financial Oﬃcer of the (fraudulent) platform             (FBI) alert for this fraud (C51).
     that would guarantee that the victim would be able to withdraw their
     funds if a final verification fee was paid. However, after paying this fee,        4.4.5.2. Family members, friends, and coworkers. Several of the victims
     the victim was asked to pay another $50,000 USD for a blockchain                   in our dataset were alerted to the fraud by friends and families. For
     congestion fee, and after paying that fee was asked for another                    example, in one case (C25), a victim realized it was a fraud when he
     $100,000 USD to become a VIP member of the platform. Once this                     sought a home equity loan to pay taxes and his family questioned his
     payment was made, the victim was notified that the withdrawal was                  investment. In another case (C26), a friend informed a victim of hybrid
     successful but never received any funds and the oﬀender and the                    investment fraud after the victim shared information about her
     platform could not be reached.                                                     relationship with the oﬀender (C26). Coworkers questioned another
                                                                                        victim when she liquated her 401k (C28).
     4.4.4.5. OPSEC measures. The oﬀenders engaged in operational                           Further, in one case, the fraud was revealed by a husband who formed a
     security (OPSEC) measures to make it more diﬃcult to identify,                     remote romantic relationship with a woman who encouraged him to leave
     investigate, and prosecute them. To make it harder to trace stolen                 his wife during their ‘relationship’(C39). The woman convinced him to li-
     cryptocurrency, oﬀenders would transfer it to multiple “private wallets            quidate his joint investments with his wife to invest more than $9 million
     and swapping services” (U.S. Attorney’s Oﬃce, Eastern District of                  USD in cryptocurrency investments (Krasilnikova, 2023). This fraud was
     Virginia, 2022). In one case (C15), proceeds were commingled and                   revealed when the husband contacted his wife to liquidate the remaining
     deposited into numerous accounts. In another case with multiple                    assets to pay the requested ‘fee’ needed to withdraw his profits.
     victims, the stolen funds from one victim “were swapped from BTC to
     USDT using imToken and Tokenlon. The USDT was consolidated into                    4.4.5.3. Government agencies and banks. A few victims realized they
     wallet address and then rapidly transferred into and out of multiple               were the target of fraud when they contacted government authorities.
     intermediary wallet addresses, where they were commingled with other               For instance, in one case with multiple victims (C25), when one victim
     funds” (C25; In the Matter of Application by the United States for                 sought to withdraw money from their account, he was informed by the
     Seizure Warrant, 2022). This process is known as “chain hopping,”                  platform that taxes needed to be paid according to the IRS Blockchain
     where “the holder of cryptocurrency converts it from one from [sic] of             Technology Cryptocurrency Authority. The victim contacted the US
     cryptocurrency to another—for instance, converting Bitcoin to                      Internal Revenue Service and asked about the IRS Blockchain
     Ethereum. When cryptocurrency is converted, it can make it harder                  Technology Cryptocurrency Authority but was informed that no such
     to trace because it will often result in the currency being moved onto a           agency exists. Nonetheless, our dataset did not reveal that taxes were
     separate blockchain ledger” (C4; United States of America v.                       questioned by all victims. In one case (C6), a purported customer
     5,012,294.90 in TetherUS et al., 2023, p. 28).                                     service agent informed the victim that before a withdrawal is made a
         To protect their identities, our dataset revealed that oﬀenders                25% tax must be paid to the International Tax Bureau (a bureau that
     opened bank and cryptocurrency accounts using false names. For ex-                 does not exist). In another case, a bank manager informed a victim of
     ample, in United States of America v. Jin Hua Zhang, et al. (2022),                the fraudulent scheme when the victim went to the bank to wire money
     forged Chinese passports and other individuals’ identification docu-               to an account the oﬀender provided (C54).
     ments were used to conceal oﬀenders’ identities (C17). To cover their
     tracks, oﬀenders have also instructed victims to delete messages be-               4.4.5.4. Cryptocurrency exchanges. Certain victims in our dataset
     tween them (C2); to conceal the reason for wire transfers by writing               identified the fraud after reporting issues with withdrawing their
     ‘other’ in the reasons for the transfer (C3) or sending the wires to               funds to cryptocurrency exchanges and/or regulatory agencies. For

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     instance, one victim learned of the fraud when the victim reported                  victim’s San Francisco home. When the victim similarly received
     being unable to withdraw funds to Coinbase and Bitstamp. Crypto.com                 multiple messages from other Asian men asking to see the San
     reached out to one victim to inform them of unusual transactions linked             Francisco property, the victim told the perpetrator about this odd
     to frauds. Particularly, Crypto.com flagged some of the victim’s                    occurrence. The perpetrator responded angrily and accused the victim
     transactions as being linked to wallet addresses associated with fraud              of cheating to divert attention away from this incident.
     and asked the victim to review the transactions (C8). Following this                    In the other case (C32), the oﬀender (who used the persona of a Chinese
     notification, the victim conducted online research and found a fraud                woman named ‘Hui Hui’) reached out to the victim via social media. While
     alert by the California Department of Financial Protection and                      the chat began friendly, it then turned romantic. While communicating with
     Innovation for the platform the victim was using.                                   Hui Hui and investing $18,000 USD of his funds, the victim was also con-
                                                                                         tacted by another Chinese woman named ‘Lydia’ on social media and
     4.4.5.5. Customer service issues and multiple fees requested for withdrawals        formed a friendship. The victim expressed suspicions to Lydia about the
     of funds. Some victims identified the fraud because of the various                  money he invested with Hui Hui. Lydia informed him of another crypto-
     excuses given as to why payment of funds could not be made as well as               currency investment opportunity after three months of communicating. He
     the new fees that were requested for withdrawals each time a fee was                invested $20,000 USD into the second investment opportunity. After
     paid, and a request was made for payment. One victim was asked to pay               learning he could easily withdraw money from the second investment
     a “risk deposit” fee after requesting to withdraw a portion of his funds.           platform, he decided to invest more money. When he attempted to with-
     Once this was paid, he attempted to withdraw the money, only to be                  draw his money from the first platform, he was told he had to pay a
     asked to pay another fee. Following this new request for money, he                  $132,000 USD penalty. Following his failed attempt to withdraw funds from
     realized he was a victim of fraud (C54). Another victim realized that she           the first investment platform, he tried to withdraw funds from the second
     was a victim of fraud when she was informed that she could not                      platform. The second platform also informed him that he must pay a
     withdraw her money without paying taxes, which could not be                         $50,000 USD penalty. After these failed attempts, he realized he was a
     deducted from the gains in her account (C14).                                       victim of fraud by both oﬀenders.
                                                                                             In the third case (C25), in March 2022, the victim was contacted by
     4.4.5.6. Oﬀenders stop communicating with the victims and/or the                    someone named ‘Eden Lin’ on LinkedIn and developed a friendship.
     fraudulent app or website disappears. In most of our cases, when                    While the victim was sick with COVID-19, the oﬀender introduced her
     oﬀenders receive a substantial sum, the target sum, and/or the victim               to future trading and encouraged her to invest her cryptocurrency,
     can no longer pay and/or no longer wants to pay fees and is requesting              money from her bank account, and money from liquidated retirement
     their funds, the oﬀenders and associates (in the form of customer                   accounts to mcus.me. When attempting to withdraw funds from her
     service and other representatives of the fraudulent platforms)                      investment, she was informed her account was frozen and a deposit of
     eventually “ghost” the victims by becoming non-responsive and                       $293,000 USD was needed to reactivate her account. After notifying the
     abruptly ceasing communications. After paying several fees when                     oﬀender that she was only able to raise $80,000 USD, she was in-
     attempting to withdraw funds and being unsuccessful each time, the                  structed to wire transfer those funds to him. After sending the wire
     representative of the fraudulent platform becomes unreachable. In such              transfer, the mcus.us site was no longer accessible, and the oﬀender
     cases, the listed fees and the payment amount that is reached before                stopped responding to her communications. In May 2022, the same
     communications between representatives of the fraudulent platform                   victim was engaged by someone named ‘Zelin Wang,’ who purportedly
     and the victim cease varied by case. For instance, after wire transferring          needed advice with launching a company. After forming a friendship,
     fee money to the oﬀender, the oﬀender immediately stopped                           the oﬀender introduced the victim to Top Tank, where she invested
     communicating with the victim and the fraudulent site disappeared                   $40,000 USD. When she attempted to withdraw funds, her account was
     (C54). In most of the cases in our dataset, the oﬀender(s) that initiated           “frozen” and she was informed she had to pay $60,000 USD to unfreeze
     contact with the victim and fostered a relationship with the victim also            her account and withdraw her money. The victim was unable to recover
     became unreachable around the same time. In only one case did we                    funds from either site. Likewise, another victim was targeted in two
     identify a perpetrator who “revel[ed] in unveiling the financial — and              separate incidents by oﬀenders identifying as women (“Unity/
     emotional — deception” to the victim (C36; Podkul, 2022).                           Sakurako” and “Emma/Annie Catherine”) (C16).
                                                                                             Barring further details in these cases to show connections between
     4.4.6. Important outliers and deviations from known oﬀender patterns                perpetrators, the second hybrid investment fraud attempt could be al-
     4.4.6.1. Video calling as a confidence building measure. Our dataset                ternatively interpreted as instances of what Button and Cross (Button
     included cases where the oﬀenders agreed to engage in a video call                  and Cross, 2017) termed as recovery fraud, where victims experience
     with the victims.                                                                   revictimization.
         The public is often warned to be wary of individuals who they meet
     online who refuse to either meet in person and/or engage in video calls             4.4.6.3. Private and financial information. One victim provided personal
     (FINRA, 2022). While we only identified a few cases in our dataset                  information to open an account, and after he was denied, he was told he
     where oﬀenders’ video called victims, this is an important finding as               would need to submit a copy of his driver’s license and passport (C55).
     victims identified this action as a confidence building measure in the              Other victims were told to upload driver’s licenses to platforms for
     relationship and investments. Video chats were also used to share in-               verification reasons (C21), asked to provide driver’s license and bank
     formation to build victims’ confidence in the investment. For example,              information (C25), and bank statements and “confidential, personally
     in one case (C54), the oﬀender showed the victim statements to sub-                 identifying information” (C9). The provision of this information exposes
     stantiate her claims of millions in earnings in a video call. Nevertheless,         the victims to further forms of fraud, including identity theft and other
     we also identified cases in our dataset where perpetrators refused video            forms of fraud. Government consumer protection alerts include warnings to
     calls and in person meetings for diﬀerent reasons.                                  victims to avoid sharing personal and financial information with strangers
                                                                                         and online apps, platforms, and/or sites that cannot be authenticated (e.g.,
     4.4.6.2. More than one oﬀender targeted the same victim. A few cases in             State of Michigan Attorney General, n.d.; FTC, n.d.; Federal Deposit
     our dataset revealed that the same victim was targeted by more than                 Insurance Corporation FDIC, 2021; U.S. Department of Justice, 2023).
     one oﬀender, who may or may not have been working together (from
     available information, this connection could not be established). For               4.4.6.4. Money requested for emergency. In one case in our dataset
     example, in one case (C2), the victim was contacted by the perpetrator              (C45), which involved various frauds perpetrated by the oﬀender, one
     (claiming to be Hao William Yang), who was interested in viewing the                of which was a specific form of hybrid investment fraud - romance

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     baiting, the oﬀender sought money from one victim for an emergency.                    included wire fraud, bank fraud, money laundering, unlicensed money
     This finding conflicts with the understanding that the “request for                    transmitting business, conspiracy to commit wire fraud, bank fraud
     money is not attributed to an emergency” in romance baiting (Cross,                    conspiracy, and conspiracy to commit money laundering.
     2023, p. 5). The fraud in the case began as a traditional romance fraud,
     and then turned into a cryptocurrency investment fraud. The sequence                   5. Limitations
     of events of the fraud were as follows:
                                                                                                A main limitation of our study is the number of identified hybrid
      • the victim and oﬀender developed a purely online relationship;                      investment fraud cases. We encountered significant diﬃculties in
      • the oﬀender asks for assistance in purchasing medical equipment                     identifying these cases. The colloquial term of ‘pig butchering’ was not
         with the understanding that the victim would be reimbursed;                        always used. Also, various terms were used in cases and news articles to
      • the victim sends the money;                                                         describe hybrid investment fraud, including romance baiting, cryp-
      • the oﬀender claims to be injured and in need of money for medical                   torom scams, cryptocurrency investment scheme, cryptocurrency
         bills;                                                                             scams, crypto catfishing, cryptocurrency confidence schemes, and
      • the victim sends the money;                                                         cryptocurrency confidence scams. The inconsistent terms used to de-
      • documents
              7
                    are used to support the oﬀender’s claims and a ‘third                   scribe hybrid investment fraud made the identification of these cases
        party’ reaches out to make stories of the oﬀender more believable                   extremely diﬃcult. What is more, many of these terms are limiting, and
        to obtain even more money from the victim (i.e., pretended to be a                  exclude other cases of hybrid investment fraud. Specifically, the lim-
        doctor, sent a purported photo of the victim on a hospital bed, and                 itation of these terms to romance and cryptocurrencies omits cases
        requested money for the victim);                                                    where other forms of relationships were sought and other forms of in-
      • the oﬀender states that she will reimburse the victim and provides                  vestments. Furthermore, cases were diﬃcult to identify as information
        an excuse as to why this reimbursement is not possible (i.e., the                   about hybrid investment fraud was scattered over various news articles
        victim’s bank would not accept the money);                                          and administrative, civil and/or criminal court documents.
      • the oﬀender oﬀers to invest the victim’s money in a cryptocurrency                      Our sample is not a representative sample of all hybrid investment
        investment platform known as Alphacoin Lab so the victim could                      fraud cases in the United States. Our sample also could not draw on
        obtain the funds;                                                                   existing crime measurement tools as they do not report hybrid invest-
      • the oﬀender sets up an account for the victim on this platform;                     ment fraud. For this reason, we reiterate the sentiment expressed in
      • several representatives of this cryptocurrency exchange email the                   Lazarus et al.’s (2023) systematic review that more diverse data is
        victim and message the victim via WhatsApp;                                         needed and extend this perspective to news coverage, arguing that
      • the victim is informed that he could withdraw the funds after paying                more diverse cases from a wider regional and global range must appear
        taxes and fees on the funds via wire transfer; and                                  in the news along with more rich empirical data to fully understand the
      • the victim wire transfers the taxes and fees.                                       nature and extent of hybrid investment fraud. We followed a similar
                                                                                            exploratory approach, the analysis of court documents and news arti-
        Ultimately, after paying taxes and fees, the victim was unable to                   cles, which has been used to study other forms of crime (e.g., Arsovska
     withdraw the funds.                                                                    and Temple, 2016; Button and Cross, 2017; Maras and Arsovska, 2023).
                                                                                            The content in private legal databases is constantly updated. The
     4.4.6.5. NFTs. The limited literature on hybrid investment fraud                       number of cases we identified were dependent on the dates in which we
     predominantly focuses on cryptocurrency investments, and to a lesser                   conducted the search, our search process, the terms we used, the pro-
     extent gold. While our research likewise predominantly identified                      cess we used to exclude cases from our dataset, the information avail-
     frauds involving the cryptocurrency trade, and to a lesser extent gold,                able in the documents, and the time period of the search.8 By trian-
     we also identified a case that involved the trade of non-fungible tokens               gulating our sources, we were able to identify the elements of hybrid
     (NFTs). Specifically, our dataset included one case where a victim was                 investment fraud, victims of this fraud, and the tactics, tools, targets,
     conned into investing in NFTs via a fraudulent trade website (C54).                    and methods of operation of oﬀenders. Our exploratory research cov-
                                                                                            ered an understudied topic and filled an important gap in academic
     4.4.6.6. Artificial intelligence and ChatGPT. One case in our dataset                  literature.
     involved a victim who contacted Sophos to report a hybrid investment
     fraud that involved the use of an artificial intelligence (AI) based tool,             6. Conclusion
     like ChatGPT (C38). The victim connected with the oﬀender when using
     Tandem, a language app that has been used as a dating app. After the                       Our research revealed that existing fraud typologies, which were
     communications between victim and oﬀender moved to WhatsApp, “[t]                      designed to clarify diﬀerences between various forms of fraud and serve
     he victim became suspicious after he received a lengthy message that                   as a comprehensive inventory of all types of fraud, do not adequately
     was clearly partly written by an AI chat tool using a large language                   address the evolution of fraud, particularly hybrid fraud. Hybrid fraud,
     model (LLM)” (C38; Pawaon, 2023). The use of pre-written scripts for                   like hybrid investment fraud, combines tactics, tools, and methods of
     hybrid investment fraud is consistent with the findings of Wang and                    operation from diﬀerent forms of fraud. Perpetrators of this fraud take
     Zhou (2023).                                                                           operational security measures to evade detection, investigation, and
                                                                                            prosecution, and engage in tactics to obscure the fraud. Hybrid fraud is
     4.4.7. Responses to hybrid investment fraud                                            a complex phenomenon with devastating psychological, social, and fi-
         The cases in our dataset revealed that U.S. authorities have taken                 nancial impacts.
     several measures to respond to hybrid investment fraud, including civil                    Our research revealed oﬀenders prey on people’s desire for com-
     forfeiture and other civil actions against oﬀenders and companies;                     panionship and seek to gain victims’ confidence and trust by creating an
     seizing spoofed domains; administrative cease and desist orders; seizing               illusion of credibility and success, using images of attractive people,
     financial accounts and cryptocurrency wallets; and arresting oﬀenders.
     For the oﬀenders criminally charged, the most common charges
                                                                                              8
                                                                                                For example, even when two researchers conducted the search separately
                                                                                            on the same day at the same time using the same criteria on NexisUni, the
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         This may not actually be a third party. It can be the oﬀender pretending to        number of results returned varied (after clearing cache and running the same
     be another party.                                                                      search in the same order, our search returned the same results).

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     promoting extravagant lifestyles, and claiming expertise in trading and                                   record amounts to crypto fraudster (NexisUni database). MailOnline, July 31, 2023.
     investment knowledge to lure people first into fake connections and/or                                    https://advance-lexis-com.ez.lib.jjay.cuny.edu/api/document?collection=news&
                                                                                                               id=urn:contentItem:68W2-Y971-DY4H-K081-00000-00&context=1516831
     relationships and then fraudulent investment schemes. While many                                          (Accessed 13 February 2024).
     cases did involve the fostering of romantic relationships between vic-                               Arsovska, J., Temple, M., 2016. Organizational learning, adaptation, and rationality: The
     tims and oﬀenders and investments in cryptocurrencies, there were                                         expansion of Albanian organized crime in New York City. Crime, Law and Social
                                                                                                               Change 66 (1), 1–20.
     cases where relationships were not romantic in nature (i.e., friendship)                             Australian Competition and Consumer Commission, 2023. Targeting scams: report of the
     and involved investments in gold and NFTs. The oﬀenders used per-                                         ACCC on scams activity 2022. https://www.accc.gov.au/about-us/publications/se-
     suasive language, a sense of urgency, and confidence building and                                         rial-publications/targeting-scams-report-on-scams-activity/targeting-scamsreport-of-
                                                                                                               the-accc-on-scams-activity-2022. (Accessed 5 May 2023).
     coercive measures to pressure victims to invest and provide additional                               Bartlett, S., 2023. Woman says she was victim of 'pig butchering' dating scam -and lost
     funds to their original investments. The tactics used are designed to                                     £360k. (NexiusUi database). The Daily Star. https://www.dailystar.co.uk/love-sex/
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     Case 1:24-cv-00313-MJT Document 10-4 Filed 09/03/24 Page 35 of 54 PageID #: 522

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          Attachment B

          ‘Pig butchering’ crypto scam: Americans taking their lives after
          losing savings to international criminal gangs
             cnn.com/2024/06/17/asia/pig-butchering-scam-southeast-asia-dst-intl-hnk/index.html

          By Teele Rebane and Ivan Watson, CNN                                                            June 17, 2024


          Editor’s note: If you or someone you know is struggling with suicidal thoughts or mental health
          matters, please call the 988 Suicide & Crisis Lifeline in the US by dialing 988 to connect with a trained
          counselor, or visit the 988 Lifeline website. For support outside of the US, a worldwide directory of
          resources and international hotlines is provided by the International Association for Suicide Prevention.
          You can also turn to Befrienders Worldwide.

          CNN —

          Sitting at the kitchen table, Matt struggles to recount the events of the past few months. “As soon as I
          found out that it was a suicide, I was 100% sure that it was the scam,” he says.

          “Our father was, from the day I was born until six months ago, always a positive, happy person. This
          was literally the only thing in his life that had happened, to where it changed him, and it just crushed
          him.”

          On a horse farm in northern Virginia, surrounded by sprawling fields and stables, the family gathers at
          their younger sister Adrianne’s house - something they’ve done a lot in the three months since their
          father took his own life after falling victim to a so-called “pig butchering” scam.




          Loving father Dennis Jones, 82, withdrew from his family and after he befriended a woman going by
          the name Jessie on Facebook.



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          CNN
          The scams – mostly run out of Southeast Asia - are given that name because they involve “fattening
          up” victims before taking everything they have. The con artists behind them take on false online
          identities and spend months financially grooming their victims to get them to invest on fraudulent
          cryptocurrency websites.

          Dennis Jones, an avid runner and photographer, was adored by his children and grandchildren.
          Described as “a bit of an activist” by his family, the 82-year-old spent much of his retirement working
          with refugees and debating politics online. But in the last few months of his life he withdrew from his
          family and, having been divorced for years, befriended a woman going by the name Jessie on
          Facebook.

          The two had been talking online for months and built a close relationship. Eventually, Jessie convinced
          Dennis to invest in crypto.

          Dennis complied. Without ever meeting Jessie in person, he spent everything he had, and when he
          had nothing left, she demanded more. Until one day the money disappeared, leaving him in ruin.

          In early March, Dennis’ children scheduled a meeting to help their father get back on his feet after the
          scam. The plan was for him to move in with Adrianne and her family. “We wanted him to know that he
          was going to be taken care of,” Matt said.




                  0:00 / 0:04




          Matt and Adrianne lost their father Dennis to suicide in March after he fell victim to a cryptocurrency
          investment scam.

          CNN/Chris Turner and Amanda Swinhart




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     Case 1:24-cv-00313-MJT Document 10-4 Filed 09/03/24 Page 37 of 54 PageID #: 524

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          But the morning of the meeting none of them could reach Dennis. Matt drove to Dennis’s apartment but
          he wasn’t home, and all calls went straight to voicemail. They figured he must be out on one of his long
          runs. An hour later, police knocked on Matt’s door to inform him that Dennis had taken his own life.

          Dennis was one of countless victims of a massive global criminal operation predominantly run by
          Chinese gangs who have built a multibillion-dollar scam industry in Southeast Asia. There, they’ve
          assembled an army of scammers, many held against their will in guarded compounds and forced to
          con people all around the world out of their life savings.

          It’s theft at a scale so large that investigators are now calling it a mass transfer of wealth from middle-
          class Americans to criminal gangs. Last year, the FBI estimates, pig butchering scams stole nearly $4
          billion from tens of thousands of American victims, a 53% increase from the year before.

          While the crime takes place online, its real-world consequences are devastating. Law enforcement
          sources predict that losses will continue to grow in the next year, and as the criminals remain out of
          reach, money and lives will continue to be lost.




                  0:00 / 0:04




          Dennis grew desperate as he struggled with the financial and emotional impact of the scam.

          CNN

          ‘Victims victimizing victims’
          Santa Clara county prosecutor Erin West has dedicated the last few years to fighting pig butchering
          scams. “I’ve been a prosecutor for over 25 years, I’ve done all kinds of different types of crime. I spent
          nine years in sexual assault. And I’ve never seen the absolute decimation of people that I’ve seen as a
          result of pig butchering,” she says.



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     Case 1:24-cv-00313-MJT Document 10-4 Filed 09/03/24 Page 38 of 54 PageID #: 525

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          Being in the heart of the tech industry in California’s Bay Area, Erin and her team were some of the first
          to begin investigating pig butchering scams. “We’ve got victims victimizing victims and the only winners
          are Chinese gangsters,” she says.

          Shawn Bradstreet, US Secret Service special agent in charge of the San Francisco field office, told
          CNN that some of the money stolen from American victims is spent on expanding the scam operations
          and the massive compounds that house them and other illicit activities.




          Santa Clara county prosecutor Erin West is part of a small group of US law enforcement
          agents working to find ways to tackle pig butchering scams.

          Jim Castel/CNN
          West and Bradstreet are part of a small group of US law enforcement agencies working to find ways to
          tackle a crime that largely takes place online and overseas.

          Social media is flooded with scammers hunting for victims, on WhatsApp, Facebook, LinkedIn and,
          increasingly, dating apps such as Bumble and Tinder.

          “The unfortunate reality is that scammers may pull on the heartstrings on those looking for love or
          connection - on dating apps and on all online platforms,” a spokesman for Match group, which owns
          Tinder, said in a statement.

          Match, Bumble, Facebook and Whatsapp parent company Meta told CNN they are working to prevent
          scammers from using their platforms, by flagging suspicious language and educating their users. In a
          statement to CNN a Bumble spokesperson said they have introduced AI to help identify spam, scam
          and fake profiles “aiming to take action before such profiles have the opportunity to interact with
          members.” CNN has reached out to LinkedIn for comment.




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          In May, a group of tech companies including cryptocurrency exchange platform Coinbase, Meta, Match
          group and the anti-scam charity organization GASO announced the “Tech Against Scams Coalition,”
          acknowledging that scams “are a pervasive issue across the entire tech landscape.”

          'PIG BUTCHERING' A sophisticated criminal network is using
          modern-day slaves to con Americans out of their life savings

          But West says that’s not enough. She recently set up a task force
          called Operation Shamrock to bring together law enforcement, social
          media, crypto exchanges and traditional banks to tackle crypto
          scams.

          A 2023 CNN investigation revealed that many of the scammers are themselves victims of human
          trafficking. Lured to Southeast Asia with promises of white-collar jobs, they are instead trafficked into
          Myanmar, Cambodia, Laos and other destinations. Since a 2021 military coup, Myanmar has become
          Asia’s scam capital where criminals can operate freely under the cover of a bloody civil war.

          Today, city-sized compounds loom over the Myanmar side of the border with Thailand, with nothing but
          a dried-out river separating the two countries. Inside are what can only be described as scam factories
          — offices full of hundreds of slaves, working 16-hour days to befriend victims and convince them to
          invest in cryptocurrency on fake platforms that mimic legitimate crypto exchanges.

          Those kept inside tell stories of torture and abuse, of scammers who don’t bring in enough money
          being beaten with electrical sticks and forced to do hundreds of squats as punishment.




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          In November 2023, CNN visited the Thai-Myanmar border region where dozens of city-sized
          compounds loom over the Myanmar side.



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          CNN/Tom Booth

          Rakesh, an Indian national, was trafficked to a compound called Gate 25 in Myanmar after applying for
          an IT job in Thailand in late 2022. There he signed a scamming contract under threat of execution, and
          was trained to scam.


          They (were) treating us like slaves.

          Rakesh, trafficking victim

          For 11 months he posed as “Klara Semonov,” a Russian investor based in Salt Lake City. To avoid
          gruesome punishments inflicted by his captors, he said he sent romantic messages to victims like
          Dennis to convince them to invest their money. “Seventy to 80% fall for fake love,” he said.

          Rakesh was eventually released in 2023 when his contract ended. He believes he was let go because
          he simply wasn’t good enough at scamming. “They (were) treating us like slaves,” he told CNN days
          after his release in 2023.

          Conveniently located on the border, the compounds use telecoms services from the Thai side. In
          November 2023 Thai Justice Minister Tawee Sodsong said they were working to cut off the
          compounds.




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          Rakesh spent 11 months forced to work against his will at a scam compound in Myanmar, posing to
          potential victims as a US-based Russian investor.

          CNN/Tom Booth




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          Pachara Naripthaphan of the Thai National Broadcasting Transmissions Commission has since told
          CNN that in May they instructed all telecom operators to shut off wireless services in proximity to any
          areas bordering Myanmar, Laos or Cambodia. Despite that, their data shows that illicit activity has
          continued at a baseline level as criminals adjust to using other means of connecting to the internet
          such as Starlink.

          Even here on the border, where the physical distance is reduced to nothing but a narrow river, the
          criminals remain out of the reach of law enforcement, either locally or internationally.

          “Many of these perpetrators are beyond my reach. And in order to establish deterrence, we need to
          prosecute some individuals who are running these operations in Southeast Asia,” Santa Clara district
          attorney Jeff Rosen says.

          According to FBI data, out of nearly $5 billion dollars lost to cryptocurrency fraud in 2023, $3.96 billion
          was stolen in pig butchering scams. While Rosen’s office and the Secret Service have had some
          success in retrieving millions of dollars in stolen funds, no American law enforcement agency has been
          able to arrest a single suspected scammer.

          ‘Hard to believe’
          Carina, who asked CNN to only use her first name, met “Evan” on Bumble in May 2023. His photos
          showed a blond man with piercing blue eyes. He claimed to be Dutch and showed off his wealth —
          expensive cars and Rolexes, though none of that appealed to Carina, a chemistry PhD and triathlete.

          Their relationship moved fast. Right away he suggested they move their conversation to WhatsApp
          and delete the Bumble app to focus on getting to know each other. A few days later he started calling
          her “honey.”

          “We’re doing that already?” Carina asked, in a text conversation seen by CNN.




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          Carina met her scammer “Evan Van” on the dating app Bumble.

          Jim Castel/CNN
          Evan claimed he had made his money running a company with his uncle and investing in crypto. He
          told her she could pay off her student loans in a matter of months by investing. Carina was hesitant at
          first but eventually agreed to put in $1,000.

          He told her not to use the official app of the Kraken crypto platform, and instead sent her a link to a
          parallel website which they used to trade in the coming months.

          As their investments grew, so did their relationship. The two made plans for the future, romantic
          weekend getaways and family introductions, though they were yet to meet in person. “I’ve never met
          anyone like you before. Hard to believe I’m falling for a man I have never seen or spoken to,” Carina
          told him just a few weeks in.

          The first red flag emerged when Evan pressured Carina to enter an “event” where she would have to
          invest $150,000 by the end of July to make extra profit. If she failed to reach the target, her account
          and money would be frozen.

          Scared to lose the money she had already put in, Carina panicked. She took out a high-interest loan
          and borrowed money from friends and family to meet the deadline.

          Despite all his purported wealth, Evan refused to help her, instead lying and telling her he was
          struggling to meet his target of $500,000 and needed her help, she said. At one point, Carina found
          herself consoling her scammer, telling him the money didn’t matter as long as they loved each other.




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          Carina spent hours every day chatting and falling in love with her scammer "Evan."

          CNN/Jim Castel

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          ‘Major psychological stunt’
          After Dennis took his life, his adult children were left piecing together what happened by going through
          his Facebook messages. There, they learned for the first time what Dennis had been dealing with.

          “I have been having dark thoughts about my life and it being over. Certainly it looks like my financial life
          is done,” Dennis messaged his scammer in the months before his death. “And the ultimate pain here is
          that I have betrayed family trust. This is unbearable,” he writes in screenshots of their conversation
          seen by CNN.

          “What’s most heartbreaking is reading through these messages. He was talking about having signs of
          a nervous breakdown. And so these were all shared with the profile,” Adrianne says.

          “Instead of sharing with us,” Matt adds.

          “What’s amazing here is that these scammers overseas have figured out a way that they can get
          victims to trust them over their own families,” West says. “It’s a major psychological stunt that they’re
          pulling on the rest of the world.”


          It was all fake. It was a fake profile. It was a fake story.

          Carina, scam victim

          Carina didn’t tell her family about what had happened and the stress she was under until the very final
          moment. After hitting their event targets, Carina tried to withdraw some of her money, but was unable
          to do so, having violated platform rules by investing in the same account as Evan. After months of
          hiding it, Carina told her family, who suggested she speak to Kraken directly.

          How to get help

          Help is available if you or someone you know is struggling with suicidal thoughts or mental health
          matters.
          In the US: Call or text 988, the Suicide & Crisis Lifeline.
          Globally: The International Association for Suicide Prevention and Befrienders Worldwide have contact
          information for crisis centers around the world.

          The next morning she called Kraken customer services, who informed her there was no account under
          her name.

          “I realized I had been scammed at that point. And I broke down,” Carina says. “It was all fake. It was a
          fake profile. It was a fake story. The amount of time that he spent grooming and getting to know me
          was incessant.”

          Reading through their conversations a year later, Carina barely recognizes herself. “It’s actually
          heartbreaking for me to see the state that I was in,” she says.

          The emotional and financial entanglement had taken a toll on her, and she was left reeling from a
          breakup and bankruptcy at the same time.



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          In the aftermath, Carina had to move back in with her mother. It will take her at least a decade to repay
          her debts.


          ‘Playing on emotions’
          Their grief still raw, Adrianne and Matt are only now starting to understand what happened to their
          father.

          “He wasn’t up against one person. It’s a multibillion-dollar criminal organization with a playbook that’s
          playing on the emotions … It was almost like he was brainwashed to some extent,” Dennis’ daughter
          Adrianne says.

          As the criminals’ tactics continue to evolve and law enforcement struggles to find a way to stop them,
          there will be more victims in 2024, and more people like Matt and Adrianne, who suffer a loss far
          greater than money.

          “He died embarrassed, ashamed, financially devastated, heartbroken. And if sharing our story helps
          somebody else or another family, then it’s worth it,” Adrianne says.

          If you think you are a victim of a cyber scam the FBI recommends you report to the Internet Crime
          Complaint Center (IC3) at https://www.ic3.gov/Home/ComplaintChoice

          This story has been updated.

          CNN’s Kocha Olarn in Bangkok contributed to this report




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                                                                                          Receiving Exchange Transaction Ledger
                                                                                          This ledger collects all transactions in which assets traceable to the Harrises were transferred to addresses associated with one of the Receiving Exchanges.
                                                                                                         Receiving
                                                                                          Date           Exchange    Asset Transaction Hash                                                   Initiating Address                           Receiving Address                            BTC Amount      USD Amount
                                                                                             3/1/24 17:12 Revolut    BTC   7b9e47576406a7af8a3c54335e57fcb8fa6713c0269ce5a564b9e9b0cf75b146   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy      0.09752991      5966.83893
                                                                                             3/6/24 14:41 Revolut    BTC   2bfd36d30659e28d3c865868c93656c6363a30d176651684d7dbb33f41bfe9ac   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy      0.02977233      1992.77965
                                                                                            3/20/24 16:37 Revolut    BTC   ed6622240afe8d924af23a5caf35366b50846f4b3d847120319c7965e8e0daeb   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy      0.05501777      3406.92149
                                                                                             3/31/24 8:13 Remitano   BTC   fb9762f35517d528af8ec6845795520179d827b61b2a86088a62c5e773a76ead   bc1qks90m8fsjdtck0euylpq0zt6p8u2j52wwqsy7t   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.07144691      5022.91282
                                                                                              4/1/24 4:38 Remitano   BTC   a89ae6523e72509ed8d7c997bdb8f21500b3276f4c198dfe9b322a6fd52747a5   bc1qks90m8fsjdtck0euylpq0zt6p8u2j52wwqsy7t   38Ep5mFzh6oNbuFXSL1Hvk3g1TwXUMX8xv              0.00990962        699.2219
                                                                                             4/8/24 12:48 Remitano   BTC   cf7d232b637bd5d97625cb913611c1d55b23605925d3c2c71fa8e4b65bc6551f   bc1qks90m8fsjdtck0euylpq0zt6p8u2j52wwqsy7t   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.01154274       800.57351
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                                                                                             4/18/24 7:25 Remitano   BTC   79c61dce88e1ce29ff729ebbfb553b9533f3eb91b723e7dc30cf21aaf8bd790d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.00972095       593.12065
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                                                                                            4/18/24 16:32 Remitano   BTC   80854bf6d99a24945d3f92d8eb4c99b11ca9fc07bfb4b0f0cfc6de761ad1321d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.01390539       881.30318
                                                                                             4/19/24 6:26 Remitano   BTC   fc624623c1beab88154896dada59d8bffd2af05560cd15563493c1b93830b817   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.03392351      2106.43931
                                                                                            4/19/24 13:12 Remitano   BTC   5726e3cbd6d50956028789e8f3bab4e9fb921246a95b5269962a1207e7a6bb33   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.03503836      2289.11773
                                                                                             4/20/24 9:39 Remitano   BTC   840d03124b9624a3d7e82c01d8d5ebf7ee332434f494a8f8d4cdb3f6c68c4612   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.00785066       501.24533
                                                                                            4/20/24 12:31 Remitano   BTC   ddaa23422a17720a646a02afe93b7a6245e93b6a9c22cb75b23668e9a62aadc8   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.04490203      2866.91649
                                                                                            4/20/24 21:16 Remitano   BTC   79e19499bf7516bcadda58cc988073a7d7fac80420283bc1a65a5d8a161cb8ad   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3A34Ggh1EUNXe4K8ayTLNLdKYAUDTnEU63              0.06175687      4003.38972
                                                                                             4/21/24 4:56 Remitano   BTC   ff20937d45a223781f29fc368faca6cdc3b0a70999ae7004fbe61926b032496b   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.06246087      4053.32071
                                                                                            4/21/24 14:21 Remitano   BTC   b6126d8e83154587f02e1ff606947ab4bf16b4aea4e9ebb61be481441ae466c3   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.03076209      1999.74349
                                                                                            4/22/24 10:41 Remitano   BTC   64898a49a4a8659b3932bc7b46ed20e6e065dab12e7c3da2ecdeff6e98ab00aa   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.02159675      1402.83461
                                                                                             4/24/24 8:56 Remitano   BTC   e5baa00245d3520e400c3b35219fc05f965d15d69dc72fc6ba716456d17b13fa   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.00935874       623.65109
                                                                                            4/24/24 12:11 Remitano   BTC   6d7969f6eed2b0a5cb205a96330abfa544ffe69221b9a04281f67e106569b2ec   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.04056038      2699.34561
                                                                                            4/24/24 21:44 Remitano   BTC   90bb3b020da071996509ed81d937ab4677573655a61986c21f582bd9f1c4b637   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf               0.0238616      1533.27054
                                                                                             4/26/24 5:47 Remitano   BTC   25ae9f634ea82f7e07a01aa02d061ef86fbfa21b6c16cc2fe3ceaae0801e31ad   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.10593255      6831.43019
                                                                                             4/26/24 9:53 Remitano   BTC   62df4887bd47d4f8d54958d89a6840a0410050a330f95f0586838a7356094d18   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.01397335        901.4134
                                                                                            4/26/24 11:03 Remitano   BTC   3e96d1f215da3dcbcdf5fdabbaa6a44949736bfd6ca6588cd58494f954b63028   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf               0.0716741       4614.6072
                                                                                            4/26/24 12:26 Remitano   BTC   d9e87eb25d65dd609657aac1dd39f8cf3bd96b6dfb2315b1478b3f3d229ee6e2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf              0.08341163      5355.74732
                                                                                            4/26/24 13:00 Remitano   BTC   656a90f118fceb58b3e9bd8e546d0184beb9bab250c39f58114511b1605a7b9a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.01882622      1208.80598
                                                                                            4/26/24 13:20 Binance    BTC   f4a9fd1a7606003f0c5a0352c01c6a33a41b0cc3a057a86bf155cd6b0fff04c2   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   13mLDAfVfyzD8Vf6x9YZ5pALc3g8TXqPix              0.17209098      11026.6022
                                                                                            4/26/24 15:27 Remitano   BTC   8e7dec54c4dbebafe0e9f395e873f2884e2958447052909cf21871a9d2368752   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A              0.02803407      1786.97292
                                                                                            4/26/24 18:25 Binance    BTC   bac90d1e542d4cdcab9d18f5621a138aa35c35bdc4d5d034774b09245567c6db   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   1MUxDUmHAVskKATJDCWgk8SJ9ZBHreZAbh              0.01563457      1008.24981
                                                                                             4/27/24 9:36 Remitano   BTC   0c88f8122ca89936e34a020a6b3a67c36869dbb5815e165d45c48f2b6f0ea3f8   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf               0.2542922     16016.32721
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                                                                                            4/27/24 15:23 Remitano   BTC   345b0981a8657ce44b2a4074338fd5c8743077a66fe6d7bd4aa7bdf760bf3a7f   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3MoVdQzjhYJrz9umg4v1oBRRz5pe9kZVcu           0.00665793     420.57811
                                                                                             4/28/24 6:14 Remitano   BTC   e7c697d7bd355cc554184feedd5baee3220c735f1e66b71efcb384a2bd484160   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.05324745    3377.72217
                                                                                             4/28/24 9:02 Remitano   BTC   37266a1cd02e3f0d9ff8094acc7c3979e6b4c22dbf66bf39f84c40a46c33a531   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.01456955      930.6016
                                                                                            4/28/24 10:39 Remitano   BTC   a54a83083612d2c3d262c65bc119eefcfba21387a76541e6fdc5bb9267e113e7   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.06339383    4043.50128
                                                                                            4/28/24 17:02 Remitano   BTC   4a54dcb2f5706a06d3589e0e9c043abfd60f45b71e246678c33a1988a7e0e32a   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.10447732     6641.5689
                                                                                             4/29/24 6:44 Remitano   BTC   afa85cf850589d7f33ac2b84614b2a5643c6a7e31e9b750a37c8ce3cf9734900   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.01845554    1149.94274
                                                                                             4/29/24 9:09 Remitano   BTC   829908b95ef1f3719e76187dd1cc9f0dc76e2f5060cc51fd27b97de3b6cc832a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02714818    1694.17131
                                                                                            4/30/24 12:58 Remitano   BTC   ec4f748a3bd48202b8974b09e5973568c39427c97f3805fb260b1b752ae00cc2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02052824    1310.67762
                                                                                            4/30/24 17:20 Remitano   BTC   28f2a2860e85d1374193a54fbca79d1b3db502563e99f9560035b18f39dbb0bf   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.03503483    2107.39232
                                                                                            4/30/24 18:56 Remitano   BTC   47f2dd4cd167345a0ddc3c291124738b6e97b73eb9f25a5cb5ab3595310c8c30   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.06700114    4040.91714
                                                                                              5/1/24 7:06 Remitano   BTC   7cc30b30a6290fdf12ffe49d50a2531dcd562d0a4a271ef6c5f89e4cc1c16633   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02569763    1533.46136
                                                                                             5/1/24 10:42 Remitano   BTC   65e06b604c94be15e0ee67b551220fc3370eed5c96c6939e89a6ed0e2d22604f   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.01802482    1034.25858
                                                                                             5/1/24 11:47 Remitano   BTC   adb433d963c0a25c7edabe916d99c0b8a69ebda6306f3158cfe296ac8467578f   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02538592    1539.24911
                                                                                             5/1/24 16:57 Remitano   BTC   b56ddbd318bf63d445c681a96090fb81912f01a6a9c8e9908c22e3d166b7c71c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.01196738     680.86637
                                                                                             5/1/24 19:03 Remitano   BTC   a94764cd0cef9d61d7a68631c991d3a4a6ee19317cc388bd18f57ec68ceaf306   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02031441    1231.74333
                                                                                              5/2/24 7:31 Remitano   BTC   a9c2eb5684ae94cf40e307dda8ecb09ad5033cf913152482f483f4896edc9d96   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.06475934    3733.24449
                                                                                              5/2/24 9:25 Remitano   BTC   fb22d20a19eeb17a4398241fd42747138a1aa0b853e9b7f4fc06404d9523137c   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.27315496   15787.01277
                                                                                             5/2/24 16:05 Remitano   BTC   bce267e61020208173db85e0e9b8bd4b82e7ae0bb18b42f544a3b8966b75132d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A           0.02935892     1738.8434
                                                                                              5/3/24 6:59 Remitano   BTC   c622b96291947c008d41ab7c3524c9f4a8abb7e9f88d3f1c94f7eb767b6e74e0   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3A3NqjhLiexUzcfgGuVo19uzux8rnbqSVE              0.02254    1331.74998
                                                                                             5/3/24 11:37 Remitano   BTC   a5510b086201d8bcea908961f01b68c4323cf16b563fb6df5c4cdd6e72be20c5   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3CaPngqFGiu8kSLEcp9uM5JvK97RdAGHBU           0.02945679    1740.42056
                                                                                             5/3/24 16:39 Remitano   BTC   0e29589888eef3117c5abbcfcf0da65c1ea3a0c59f58a3a6b16735212eea1675   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3KE6diBJr2yCcd9HEUxH5KNd86s2tzPW2N           0.01216447     752.90272
                                                                                             5/3/24 18:23 Remitano   BTC   87a1ab0bc25e8dc3a268c1ed3b381fab8dda62c918df67b2ea7397c33e94e235   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.07352273    4344.00595
                                                                                             5/5/24 16:50 Remitano   BTC   705593389ae72ac5b58e774eb670802d182ad0d075a463e1a8b7fb83a3d72023   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3B9GDHG6WgrWeavz247zAvbd5WrC8rYF7y           0.00765139     491.83625
                                                                                             5/5/24 18:50 Remitano   BTC   2ac6010e319f676cc2e0b0fc8b1f684a90ecf209b0031184c97531a0826c340b   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf            0.0579504    3716.27628
                                                                                             5/5/24 22:32 Remitano   BTC   11387e7eac918938afd45ac004e3d95fbeb685c2e985ffca2ad23895205ddaa0   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.02634208    1683.37771
                                                                                             5/6/24 21:32 Remitano   BTC   f13bb22e0432ff5c236db64e1b45c62221e2f59ecf0a1d24e507d3826d00c019   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.03151618    2000.35495
                                                                                              5/7/24 7:35 Remitano   BTC   38eb311b6ee9e86f9c0cb082b4b1fb1548777a32ed42a4b38d2c64feefca2c6c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB           0.03217305    2047.80659
                                                                                             5/7/24 10:56 Remitano   BTC   03bbe10be0cd51bae67fcb37a18d14437ad7488b70ce847966fae3f03b794202   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB           0.05660285     3623.5554
                                                                                             5/7/24 11:50 Remitano   BTC   3fade7b6109d3e1171956ba4de8aa7620c0a7554a4e1287fa78f0af1635fb724   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB           0.01837721    1160.85969
                                                                                             5/7/24 17:23 Remitano   BTC   7b136e5fa864cce5d2e36d0049244d0e890672e6eb98ac58cfde8e06be75be07   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB           0.05701505     3634.9546
                                                                                              5/8/24 7:02 Remitano   BTC   58635e7c4b805f9c9f9e67bcd6691ebc5a1f4ead83ddab4524970e8d271aaff2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.05764345    3589.34926
                                                                                             5/8/24 10:47 Remitano   BTC   7e3d6d7a504d40e8bbe8b4fb2ce3420411a3dad49bf059666e67099dd6dda971   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy           0.01600216     995.52894
                                                                                             5/8/24 12:51 Remitano   BTC   41d652a2aeef5664bcc88672d91e02f19de404d31fd093ddd872895e9a758515   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy           0.08639183     5393.1629
                                                                                              5/9/24 6:36 Remitano   BTC   1a19550afb9c440acf82a54a93e456e8e85f1b17b749ad5752b944f18530c28d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3DGPG9Lh6iLSkxYf9UZxzxjcUKo36xUva9           0.03101634    1915.32909
                                                                                              5/9/24 6:36 Revolut    BTC   90d55dd285f1d688b00625a5bd5c80c643483f4db00b7c7861892713ed3f7a17   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.11337991    7001.46568
                                                                                              5/9/24 8:01 Remitano   BTC   9851a7f200d9c038b4fef19a02b544bc90d782c98fb14d1d41e31194d7a49c41   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW           0.01620206     995.73859
                                                                                              5/9/24 8:24 Revolut    BTC   5f713dec365ccc4e651ade4658e4fb7407edaf3b56d8ecd7149dca99cdfcba66   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.08157585    5013.45025
                                                                                              5/9/24 9:34 Remitano   BTC   f6518e683e3218aedf6ecf474e76960f9f41511d70e0ef15479279e294cb1069   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy           0.03640357    2234.17919
                                                                                             5/9/24 12:34 Remitano   BTC   e1bfcb823d31b851ac82e3f108d8c7b9e7227012ddcaed74c2b6c73edeeedc9e   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW           0.03043682    1862.11886
                                                                                             5/9/24 12:41 Revolut    BTC   08e2004bb90043f78c8f3e5b61fadf1a2489d4fccb5c47a30656a1a4d038cd06   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.08146762    5003.82676
                                                                                             5/9/24 14:54 Remitano   BTC   28bf9da3ee010ac2c9d9bd051c45e16628de4b9f9eefbca0d23c3238406e089c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW           0.00974534     598.64211
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                                                                                             5/9/24 22:23 Remitano   BTC   98c4421d5f95dab48c29788f98f673c4d99f2cbf1037fbb84e467d40f1822eae   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   33heGnSTbA6U7WrfMBYoWYgCRBek2MrKTA           0.01322861      827.6546
                                                                                             5/10/24 7:25 Remitano   BTC   9b0dd5e7961ffd237659ab1971686c58be5a513eef2c707a4fba6cd1863f8bc2   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.11200744    7094.08978
                                                                                            5/10/24 11:58 Remitano   BTC   278ec91989658fd801f6e92d8e2ad93cb987abd08ee5855ae36ded6e692daaa8   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz           0.01900458     1197.6692
                                                                                            5/10/24 12:39 Bybit      BTC   ce61abdc06bf14d046ba5362c96ba392ada514519eea23f104a73f2996258981   3KnqtxBsSywJ4ptqaQ56QWNh1JaTkDrkw8           14rxMsRQV5fkTDb3ShorD91xQvdwp34hjb           0.57545563   36265.23107
                                                                                            5/10/24 13:55 Binance    BTC   12f25da1eb739e4e76c24e523d2f395fa144bf83d6936685b3853e23fd3af2c7   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   1DMhMwn4apg49oVjRpbaZqJDDLJaN6iqox           0.00237987     149.98157
                                                                                             5/11/24 8:04 Remitano   BTC   af5e71aea106aa6b18c6729023e57ed1377fdbbc987dd1fb727c550373f283e2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz           0.03115467    1898.91764
                                                                                             5/11/24 8:08 Remitano   BTC   5a6e141d4fc46971ce45a03c0a373212bb903e0e603c5f55acec6bd50e061ac3   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   31jJbyCxErbbfkuGP1dtz2Pz9jt9SWNv83           0.01641318    1000.40466
                                                                                            5/11/24 14:01 Remitano   BTC   5182cb88286c591e58b18e7c2bbc929ed3ec98cff917a1302212f302789deb15   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz           0.02796018    1701.35822
                                                                                            5/11/24 21:56 Remitano   BTC   77224d472b7487918b01175f148cf9d267da5f0bf5fef8186cf27dbc6f0b5d24   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz           0.01801163    1096.17501
                                                                                             5/12/24 1:51 Bybit      BTC   c112147033e10979afbb346573e4b09026261f9e28601733b9ee88dc77d844aa   3KnqtxBsSywJ4ptqaQ56QWNh1JaTkDrkw8           14rxMsRQV5fkTDb3ShorD91xQvdwp34hjb           0.71452037   43459.40822
                                                                                            5/12/24 13:31 Revolut    BTC   db8a5298e0cf978b64e149a3b65d0fb57fccd3bb57a67dd0be34abc4bfb6ed66   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.06544229    4001.80192
                                                                                             5/13/24 7:05 Remitano   BTC   80abbede5e2557f095a9f700d04cfa8f87d58f6bcd87c1b1da761d5259973a22   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03364662    2059.42617
                                                                                            5/13/24 10:12 Remitano   BTC   67a58704451aa699e61dd53c36eed3919ccd23f4375a636007c1cbe417cbb1a0   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02439771    1532.42724
                                                                                            5/13/24 14:47 Remitano   BTC   3472b444e86a4519cf395efc4a787cb5b09e08b6b128ed0dde2e23acb3da5857   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0600254    3776.54126
                                                                                            5/14/24 20:58 Remitano   BTC   f73b32c368cfed7b5946e7897d99696b005837ca9a6e9e8626d7dc2ba452045e   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.17355924    10688.5972
                                                                                            5/15/24 13:52 Remitano   BTC   2f13ee5fbc5a18ae629437bb1d522e8a485d5a4ac1a203c7f498976bed1c5599   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01910335    1230.58737
                                                                                            5/15/24 14:22 Remitano   BTC   d71ed0b62b9cce439ac2559473ce5e48478725493ab677d1cd096523cd608dd2   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.11982337    7718.70516
                                                                                            5/15/24 23:28 Remitano   BTC   4191a41057cdcf48000c3881ebdea62a86a28f4b44b9bfb7646148cedcced5a1   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00810979      537.1281
                                                                                            5/16/24 14:16 Remitano   BTC   4224db7b492ed62b38046962bfed603f2b9d43d8fd6261ce7ead6651ea0a09ba   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04915658    3253.28029
                                                                                             5/17/24 7:28 Remitano   BTC   77225cc0d394724b870de3cf89a86cc42ede492267e752ff7828f659b7982279   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.06168819    4074.42722
                                                                                             5/17/24 8:03 Revolut    BTC   b47577d0da10ce4281e2fab8d8a5596042f16cf9bb516951248852967e77765b   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.06047627    3946.10867
                                                                                            5/17/24 14:56 Remitano   BTC   d8069d850f7641fbe266a3e5e2d1eedb1475e81ba676de5a5e0c57fb5c3296f8   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03552493    2350.13789
                                                                                            5/18/24 11:35 Revolut    BTC   5623e9cb5a4b03e0be5e2dd8c717a7183125ccf28513570011761bef95f9df75   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.04457165     2988.5893
                                                                                            5/18/24 17:54 Remitano   BTC   30cd89d914d4e5a5d70fa0f736ad3977af765a0f90680c1de6f89f44459e877e   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00747814     500.41013
                                                                                            5/18/24 20:10 Bybit      BTC   722c13952b81f8c22bbd59f990d81b18d7405453fa8db53318b1ff9261e575d5   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.02980146    1992.92585
                                                                                             5/19/24 9:05 Remitano   BTC   820ae9edae2676c8603dc8e5276f28ed39b861dae24d9421880a2b9af28d7ff0   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3BjbZnAwmmxvQFnibcyGRd8SAwM6xTLYpA           0.00297278     198.96091
                                                                                            5/19/24 13:57 Remitano   BTC   d92abea636adfe80ad52aaa5b78349aa0dd569a88762a94d380760f9a13d7f2c   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03577459    2392.29942
                                                                                            5/19/24 23:24 Remitano   BTC   1fb9a75adaf536e3f286525f78633340854f27fb41b8150165f94a3ff44c635b   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00729186     484.11781
                                                                                            5/20/24 16:48 Remitano   BTC   66ad237f48660b5edce92a7accc8d05e1d0026dc41f8b432f792d5a27ebeb124   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3CZ6NHrctR8ceWwyYyJQXP96PMAqEs5J4a           0.00220211     148.98065
                                                                                            5/21/24 10:31 Remitano   BTC   db4b1055b265c2769947ee4e275738823859a06aa75bacca1bc93e18648a17de   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KSpJdiRmej8XkqCYswa58pff127b7nQxc           0.00702608     500.38063
                                                                                            5/21/24 16:46 Remitano   BTC   97a2e0633673924a202a395a800eb7ab9912a5fcff53db5c749ef9bd22596bd6   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04296702    3004.21408
                                                                                             5/22/24 5:47 Remitano   BTC   2d74b8972d78feec49918100fade80baf8f0187dda5506e025828851939a6a81   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03490036    2426.98569
                                                                                             5/22/24 6:52 Remitano   BTC   c281ffef00bd9906953a2feef29a9f30a01f4d9825f6d73757ae1820d7752958   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0159691    1115.83687
                                                                                            5/22/24 14:38 Remitano   BTC   41b8200628ccb7599b1ae2c515fcf89ae96038749df5f7b23c629dc7efde5aea   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00481127     334.67088
                                                                                            5/22/24 14:46 Bybit      BTC   0455f5a6f39dbc24628bce15ffd43354fe9a61e5165f53f39c5dafd8512c256e   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.38675781   26902.78818
                                                                                             5/23/24 8:39 Remitano   BTC   9edd533b4779a69dccfb801aae7c86d66e201774a8fda542775a97a9139fd8ca   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.05078329    3540.14377
                                                                                             5/24/24 7:33 Remitano   BTC   d3a183dee10b7010ed0fa5e0bffd69d6284c40d92688a2e8940fdfa1ca17a014   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00924845     620.74792
                                                                                             5/24/24 7:56 Bybit      BTC   45d56a769315c53771bc3be1ce2b63caad12fc68d8377e2a8bfa3a4c5ff2db32   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.01489025    1011.73814
                                                                                            5/24/24 10:23 Revolut    BTC   f2ebcadb3c047c08f58ca1c82c90ab7a6b028cef65b3e84db6a7688ec0bfeb72   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy    0.0148512    1001.16617
                                                                                            5/24/24 12:07 Revolut    BTC   81375fda4a21514a61084420bf35c6408ef616fb7c6a37a07c5b8f341db97762   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy    0.0148525    1009.17316
                                                                                            5/24/24 16:49 Remitano   BTC   c68c58816f9e184e5287b73fedabcc0e309f7091c402e40c366e0fb9e5a63708   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02493971     1701.5995
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                                                                                            5/25/24 14:07 Remitano   BTC   39bc0950c2d3e12ac4b1fde00c8aee05427a9464ac5c612fab2bf459636a4267   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.05333073    3691.11582
                                                                                            5/25/24 16:47 Remitano   BTC   36a2f0b2468751672075e4d0c839a4a4536bbafa81c8f2c917ccd29099e6f4f8   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   3KSpJdiRmej8XkqCYswa58pff127b7nQxc           0.01450415     999.76874
                                                                                            5/25/24 19:06 Remitano   BTC   ed0a495a2594bd1beaead5d4760f0558d157542b124d1aa47066318c381f3d6d   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02583751    1787.95259
                                                                                             5/26/24 9:10 Remitano   BTC   9eac5df7b8c5e3e4ac44861812ecfb267fb3fe51ceaf2cf7035a40c2654a855e   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04214998    2920.52786
                                                                                            5/26/24 10:27 Remitano   BTC   ad91b4ce4e0532a7458d33b2d2c766b9aa8450811b38ef15933007ab0f95a80d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01427574     986.59825
                                                                                            5/26/24 19:24 Bybit      BTC   cd865c1db83554ab17748484c4bfbf29177fb038417cfe0cd6f16ce2d26ceb84   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.00123414      84.87745
                                                                                            5/26/24 20:31 Binance    BTC   f03c348ddc0280f1e02c6599e274af83e457b0cbe076c71c5f642706a5bbf5d1   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg           0.03708371    2553.26127
                                                                                            5/27/24 17:44 Binance    BTC   13fd1ca203012db8e63c2c4f69869114d31a78f060b6b6947d6adc93ba6f4b99   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg           0.00854858     600.16845
                                                                                            5/27/24 18:43 Binance    BTC   a3836f5790ef41277d9cb36bf31cd20f876adf8e668535507422c4a8a587b035   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1PvjGd7aCpvRzZtz4kL9YgdvnYPdpm16oj            0.0042851     300.59912
                                                                                            5/28/24 12:41 Remitano   BTC   7f1fe274e77db6777b5cb2b3ce4c6087bb8bc48d7a0e65bb9d30716e58ef222b   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.88002085   60269.72395
                                                                                            5/28/24 13:37 Remitano   BTC   32e038c3d65d2a93ace31734a3b6c3c3c96d752a3dac87b46ff6b8042155276b   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02802077     1944.2724
                                                                                             5/30/24 1:06 Remitano   BTC   dfe3e4f13b7133b0d0bbd11b1c9dc3f7297a48aa3a3bae65b6295ab381ff2b53   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03212221    2166.14099
                                                                                             5/30/24 8:13 Remitano   BTC   615adf1d949d2e3f5d8b8a9b5028359a627f96cc4c2133f9b7cd08f00e29c177   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.04764274    3218.65061
                                                                                            5/30/24 20:37 Remitano   BTC   56aa4c438477752443b5fcf5a044952366b5c52bbcd12db82f1aab9c5b724867   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.06123312    4137.93892
                                                                                            5/31/24 10:33 Binance    BTC   2c4cf6c4075938d414ca071f8e2ef3ed80ae91e143f94c9cf5cdb87c86435105   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg           0.00293532     200.00892
                                                                                            5/31/24 17:57 Remitano   BTC   69a5bad1fdc404a75cc250b34cf157249352b81e7f5808fb0f34e9a84d3dc1cd   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00804688     541.85702
                                                                                             6/1/24 12:41 Remitano   BTC   e854c640dbe2a05b6389f1353b415e53adc6013f56b1c7c03f763c81e117a4c7   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03571366    2410.03813
                                                                                             6/1/24 13:54 Remitano   BTC   e98655dfc14f2e5138d8177a8e13acaec962fe4c49ebe59f395d4dda8789719f   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02986314    2023.35883
                                                                                             6/2/24 10:22 Remitano   BTC   d5067a9e08caab89456d1eea1f555d3b5ba8ee55c95349529d72500197b2be48   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02817465    1908.03238
                                                                                             6/3/24 12:22 Remitano   BTC   5e489d6f85c2754e6416137c5e381964e7469d7300af1c78e9bce2141ab955b2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.83273082    57571.9611
                                                                                             6/3/24 16:32 Revolut    BTC   f64a6a2c69ce2f181c7990c236e400fbe8ec111f45548f2988e4150cd7e5df00   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.01061303     737.86391
                                                                                             6/3/24 21:04 Remitano   BTC   f024eaeeff204821610fc40c38cf016d583aebc9548ad264ea4f64bf213c7b3f   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf             0.078754    5459.69902
                                                                                             6/5/24 17:48 Remitano   BTC   c5a810593e79eff639d7aece2ecb77cb139f64571052bf66d2d4a54b24565b6a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01398005    1000.02821
                                                                                             6/6/24 10:43 Remitano   BTC   5849cafc9190e6e202d4783becae2fc766f8be92d9ab1bcbaf0d84b051bc704f   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02113403    1498.86831
                                                                                             6/6/24 15:43 Remitano   BTC   3c685e658d116174fb39c007b7f262f182a214abfd1c41110c9d10480af436df   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02517617    1799.59867
                                                                                             6/6/24 21:29 Remitano   BTC   7615ba18a3f48eba8d3f0accc9b20fc81557b30d6bae19ef71944e772631a327   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01130688     804.11907
                                                                                             6/7/24 17:24 Bybit      BTC   d0137332f06a11f80f3b734890797c210632f2ddddbc936c02863094ad5f4bc7   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.01418287    1007.16049
                                                                                              6/8/24 8:35 Remitano   BTC   37b40e648009f81b9b25b34ea4edf5f3d897bd34b6c216e759c470dbe2262c8b   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02565029    1781.75174
                                                                                             6/8/24 21:48 Remitano   BTC   578bc28df3c5a5f418fa0cfbc8e755c6a0c8107f10d965590ec36c8235da0a88   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00504299     349.67659
                                                                                             6/9/24 19:40 Remitano   BTC   03cfb8db1bbfc901a9a4578dfaff7c2738f8bb9a94ebce7ecd040266ad0a860a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0222052    1549.63163
                                                                                             6/11/24 7:01 Remitano   BTC   be9604e926983d77581a5ff9c40a13553da35f1ae03c027dea3678dc9cadb3c7   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02338766    1587.81233
                                                                                            6/11/24 12:51 Remitano   BTC   a23f64bb181cfc20645e88fd7b67201c4f527802c6755e78e08647ace6a1cf58   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01493539     998.06998
                                                                                            6/11/24 14:27 Remitano   BTC   5c155daebac0893c0fd195b6563acbb54ca58a42b404112c0f441be298cd368d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01420257     953.60799
                                                                                            6/11/24 15:58 Bybit      BTC   a66c5c76fa05bb4788f768439ad088b522f3032e11a6941c79223d343d9cb5a3   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.00905045     604.76826
                                                                                             6/12/24 9:46 Bybit      BTC   a3911bd16997e1ed6364d505d776636aa673a9726eaf16fe1d93488982294ae4   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.00237209     160.13299
                                                                                             6/13/24 8:07 Remitano   BTC   734b4edae177212a49e7de7c26dcab076d37b1930cf73e292c98e2907a81dfb2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01267678     858.28595
                                                                                             6/13/24 9:24 Remitano   BTC   447a2946b02a9b5b83bdf420e9e6f7f89d85ac58fb0e42bd91b9b1a4f932d3ee   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0074056     500.03641
                                                                                            6/13/24 11:18 Revolut    BTC   3c520c4973b3bf64fb4e238f972db956c8a8e058c03a3cd5fd4e6c1b37900728   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.01921811    1304.78648
                                                                                            6/14/24 15:12 Remitano   BTC   2aa8effffa05269ce23f899e9bc4e6cfbe53a9960f7cfe40b2b2c51846f67ec0   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01498452    1000.10493
                                                                                             6/15/24 1:31 Remitano   BTC   4539e23258ca778c4726d2950716cf265b0953d1719ca9a2b91e76f471d9e7bf   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.04627828    3057.82439
                                                                                            6/16/24 16:03 Remitano   BTC   fd7b983001b069423cde42c63ab20e0cb6f0b331b9ae360f8e25b41b3ec5e5ac   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0392414    2614.53087
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                                                                                            6/17/24 14:44 Remitano   BTC   53c0eca28938acedbd6780eeef4a895e1c8eea5f041db858aebd14b78a4323dc   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.05673432    3780.29795
                                                                                             6/18/24 9:53 Revolut    BTC   5f31ff883e8f4d7530e444cecef822a6308b10591963d4e7eaf4b49ae913ee09   bc1qsfw593j8phg20vvk6cunwdw8w2vyle9l46lamj   bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy   0.00860371     571.98953
                                                                                            6/18/24 16:20 Bybit      BTC   4f8833b84bcd7918bbe7371cd66ca0c0b0f1f5efdfd53041060c5a2de2a3e992   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.01550897    1002.13303
                                                                                            6/18/24 16:42 Remitano   BTC   25b2464ed5e181e55c264736f24d1e95b1c75b35c8542f2c876b2653444b090b   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00800205     517.06326
                                                                                            6/20/24 10:47 Remitano   BTC   1df211391670111fc3480cf8f7e2e53d4a4a85749f7a601a7f732a6e7b25077a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03986819     2623.2372
                                                                                            6/22/24 15:37 Remitano   BTC   27cc0fb930fe3cecd20c411fece236b79d2d927445802d01c1149ebab59da91c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01333112     856.41914
                                                                                            6/22/24 21:29 Remitano   BTC   6907f39e8af771eedb3a45a8f514b354eba1aae70ea7986c005ad127f6956b0d   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02487833     1595.1821
                                                                                            6/23/24 21:54 Remitano   BTC   7b0cf1308cc1b8800514807a629c8ebc35d66d2dc0438e52ba2a8d35a3320c34   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01191642     759.08394
                                                                                            6/24/24 17:09 Remitano   BTC   e3f5edd6866776a6b019f301982aa7d80992b1c3abc79a985711f13009f9b505   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.05215388    3167.25506
                                                                                             6/26/24 7:15 Remitano   BTC   d7a7341cddb3d5d34b568b9aba0edb721082a48ab574c7169ec6bac07425bdf7   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0089816     555.03198
                                                                                            6/27/24 15:20 Remitano   BTC   3c6de918f3d7becf274fc3732877d1eb19ddbce1634864c03b0d28e5c40e2ce9   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.05215815      3225.303
                                                                                             6/28/24 7:22 Remitano   BTC   a69dd4981d19651d9cbc8a5cffd8c2f52a05a203d09ab4c873d8560b7c423215   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00752187     462.82705
                                                                                            6/29/24 11:50 Remitano   BTC   41cfa3d9b6eef4bd05979d8b4666f8e9108f46a482ed52377df1d79aaf61f744   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03626441    2215.67567
                                                                                             6/30/24 8:09 Remitano   BTC   8dd27d3abe014845cfa44f1dd58f63c2d090b284b53946725eb2bda3f6d9c057   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02768937    1686.42939
                                                                                            6/30/24 13:39 Remitano   BTC   41952015df09d2b82b6913068328192f27c6829e49ef6fbb322a999a641eef34   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04883611    2999.80982
                                                                                             7/1/24 17:40 Remitano   BTC   16e5d025984268421e85cb1bc03524b9f3ac3778755501179bcbe5bed9d183bc   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01738061    1098.88681
                                                                                             7/2/24 11:17 Remitano   BTC   a03756380bdb24b391155a553fc104aa5093506a4eeb47c26b4dc064db41d70a   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01517033     949.76748
                                                                                              7/3/24 6:55 Remitano   BTC   fa7d1cabe8409311a727699d3fd5f3f8d41feb2febb80a1a2b1abb6ed0cb9b7c   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02230867    1362.01502
                                                                                             7/3/24 21:14 Remitano   BTC   49e78bb8daed638a388f7c3e4923d3f91104de843cd11ecb1c18242504cb1add   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00926556      553.4294
                                                                                             7/3/24 21:43 Remitano   BTC   b2e5cf1a3acd6fb113e2afc223125357fd6594f31dc594704e08ea6482f92168   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00502811     311.96647
                                                                                             7/4/24 17:27 Remitano   BTC   c18dedcfc8a7df1aa44759fb9f2a151b8d355a5f552ce5caec9a9b15dd667120   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW             0.004345     252.49799
                                                                                             7/5/24 11:38 Remitano   BTC   6846ba9c1c6ff58fffae1d310987a5f48227de3a2f60adf73999cd8716d13bd3   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01298276     718.03296
                                                                                             7/5/24 16:28 Remitano   BTC   6d8578f57de359885c31eff6ab94e5a29df33635dc659f469fd1696ae8b95e8e   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01838333    1040.48912
                                                                                              7/8/24 8:29 Bybit      BTC   583e661e4536c49b12a3772abe2a1f4977373e4561b3b3bd09a915fdd220e10f   bc1qaj9tzy4g34pf8kp9f8rufdnt54zxck4wuljstd   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ           0.00318744     177.59762
                                                                                              7/9/24 8:04 Remitano   BTC   732225d0d955cd9cc32a6812a0f99ecf6d58df9c779b5ec646c7097b573f48b3   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02453453     1406.6068
                                                                                             7/9/24 13:25 Remitano   BTC   324e84d6f6200d13cad3b9365b4699fac785fa0136812bb92ab3e94d41a4348e   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0174554    1000.36985
                                                                                             7/11/24 7:35 Remitano   BTC   f32a50166eca698805d7667bbe26e0d79e840c1cb89d91be29288184c6715cbf   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01718026     998.94519
                                                                                            7/11/24 10:23 Remitano   BTC   01b6266d4c2ab02d730292479ee35631d5c614eac5ab49194f756168f26050f3   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf           0.17344817   10093.70525
                                                                                            7/11/24 19:38 Remitano   BTC   29289a4ff88eef8511a2ba35ea18e5025201d641c10f9acf69488d634daad468   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0069576     402.41993
                                                                                             7/13/24 6:35 Remitano   BTC   1cc097c0bb607c1277bfcaee6dfbcf665209e0f452c20d6469ce64243c4bd522   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02580708    1499.59445
                                                                                             7/13/24 6:35 Remitano   BTC   8f6523785952be0f24668d13c9559d71ffd6e806aa7462cab6389e3e214ba683   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.04473228    2599.29751
                                                                                            7/14/24 16:41 Remitano   BTC   d7ffb5ac2f922898265aa15de0e64796831c1b8dc4137ebd460a8ab88440c068   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00687046      413.1176
                                                                                            7/15/24 15:06 Remitano   BTC   718b5fb8107997fc7cfaf2e91d7c14741c19ca13043d885d213f6216de1609a4   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03551817    2236.47297
                                                                                            7/16/24 14:31 Remitano   BTC   01a1002b9fa01b256b3fbe1d69cdc31cf0f1487aafb613a908d6a3d50bed1d59   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03386916    2193.55478
                                                                                            7/18/24 13:35 Remitano   BTC   fcda8b36f980ad8d6c07b2ea48b71eb7bc25856eb4d07d211b162e201594ac16   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.01777382    1153.68159
                                                                                             7/20/24 9:55 Remitano   BTC   c8962e07ed03a486f24484d8813043ec55475d6e344938553421582933d281e6   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03228131    2148.42448
                                                                                             7/22/24 9:35 Remitano   BTC   f47710251a41be6dd01ff3fcfd1093853b2cd1b76f22657507c212070efc90e2   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.03072728     2066.0682
                                                                                            7/23/24 14:34 Remitano   BTC   f8198d7f13dba1eaa333bdbcb6c4803fccf8bbbd4f4fe940047c87006bb6baee   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.00747821     495.93754
                                                                                            7/23/24 20:16 Remitano   BTC   c963892e22c75ccd7b0d0a48ff3adb1d9e05d51a381b732edb96b8b1bc15ed81   bc1qktalnymfk50wwp4qasyu6v6gxqw2gwu55hjts4   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW           0.02111697    1392.02834
                                                                                            7/23/24 21:18 Remitano   BTC   7087a3ed5f22d312c866e5efa275ece2e0759026545a9f780767f8aac58d3974   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   39TPPnjRGB8ANVbs1K7RFoBBDNtvXWtECj             0.007553     496.91799
                                                                                            7/25/24 11:18 Remitano   BTC   4ce5ce38c879a03a202e824152ea5740b7578f9627c6e957d99a40a3c8cd3709   bc1qmz2rj0nhr7u3ruzusuxtfd979j2rpfed3relgg   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW            0.0077841     499.48756
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                                                                                                                                               Total Transfers: 200   Unique Receiving Addresses: bc1q7gku9m33re89mes97dwq4lawwxg3hj6g28umcy
                                                                                                                                                                                                   38ZWvd5Be2PqMu5xcvy9PY3T4frKvniNyf
                                                                                                                                                                                                   38Ep5mFzh6oNbuFXSL1Hvk3g1TwXUMX8xv
                                                                                                                                                                                                   3M5RWiGdcEDRseLUqaG15HgPLL7bf3644A
                                                                                                                                                                                                   3A34Ggh1EUNXe4K8ayTLNLdKYAUDTnEU63
                                                                                                                                                                                                   13mLDAfVfyzD8Vf6x9YZ5pALc3g8TXqPix
                                                                                                                                                                                                   1MUxDUmHAVskKATJDCWgk8SJ9ZBHreZAbh
                                                                                                                                                                                                   3MoVdQzjhYJrz9umg4v1oBRRz5pe9kZVcu
                                                                                                                                                                                                   3A3NqjhLiexUzcfgGuVo19uzux8rnbqSVE
                                                                                                                                                                                                   3CaPngqFGiu8kSLEcp9uM5JvK97RdAGHBU
                                                                                                                                                                                                   3KE6diBJr2yCcd9HEUxH5KNd86s2tzPW2N
                                                                                                                                                                                                   3B9GDHG6WgrWeavz247zAvbd5WrC8rYF7y
                                                                                                                                                                                                   3KKGPBqG2GW5PNVmktjoJwsSoGmfrvVTBB
                                                                                                                                                                                                   3G1gfTQn81jgaPUCWCoSr8j17AtiWn17uy
                                                                                                                                                                                                   3DGPG9Lh6iLSkxYf9UZxzxjcUKo36xUva9
                                                                                                                                                                                                   3D8JCs231iJxK8Jx86pJ4TAWrAAtbRxRPW
                                                                                                                                                                                                   33heGnSTbA6U7WrfMBYoWYgCRBek2MrKTA
                                                                                                                                                                                                   3AymDrgNq3WQZaNLh4vxLe8bxVzGaHqQhz
                                                                                                                                                                                                   14rxMsRQV5fkTDb3ShorD91xQvdwp34hjb
                                                                                                                                                                                                   1DMhMwn4apg49oVjRpbaZqJDDLJaN6iqox
                                                                                                                                                                                                   31jJbyCxErbbfkuGP1dtz2Pz9jt9SWNv83
                                                                                                                                                                                                   35wtpq7h7AjMP2xaS9yNa8T9cgJfUUm5RW
                                                                                                                                                                                                   1HyTkypyP8yoRGSRrvr74SyEhhX1bkLMiQ
                                                                                                                                                                                                   3BjbZnAwmmxvQFnibcyGRd8SAwM6xTLYpA
                                                                                                                                                                                                   3CZ6NHrctR8ceWwyYyJQXP96PMAqEs5J4a
                                                                                                                                                                                                   3KSpJdiRmej8XkqCYswa58pff127b7nQxc
                                                                                                                                                                                                   13WWx7qQ1QBoY2E3sjaRrzvWzg2JJkDAgg
                                                                                                                                                                                                   1PvjGd7aCpvRzZtz4kL9YgdvnYPdpm16oj
                                                                                                                                                                                                   39TPPnjRGB8ANVbs1K7RFoBBDNtvXWtECj
